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                                                                             Exhibit E

                                                  Summary, by Individual Timekeeper, of Total
                                              Fees Incurred and Hours Billed During the Fee Period



                                                                                                                                      Hourly Rate Billed          Fees Billed

                                                                                                                                                                     In this
                                                                                                                                                                  Application
                                                                                             Fees          Hours                                                    at First
                                                                                             Billed        Billed         Number                   In the First     Interim
                                                                              Date of        In this        In this       of Rate      In this       Interim      Application
       Attorney Name            Position               Department            Admission     Application    Application    Increases   Application   Application    Billing Rate
Paul Basta, P.C.          Partner           Restructuring                       1993             737.50           0.50         N/A      1,475.00       1,475.00          737.50
Mike Beinus, P.C.         Partner           Taxation                            1999         14,884.00          12.20          N/A      1,220.00      1,220.00       14,884.00
William J Benitez, P.C.   Partner           Corporate - M&A/Private Equity      2009            796.00           0.80          N/A        995.00        995.00          796.00
Judson D Brown, P.C.      Partner           Litigation - General                2004            840.00           1.00          N/A        840.00        840.00          840.00
Andrew Calder, P.C.       Partner           Corporate - M&A/Private Equity      2003        463,779.50         388.10            5      1,195.00      1,195.00      463,779.50
                                                                                           1,061,238.00        852.40                   1,245.00      1,195.00     1,018,618.00
                                                                                            738,820.00         557.60                   1,325.00      1,195.00      666,332.00
                                                                                             44,160.00          32.00                   1,380.00      1,195.00       38,240.00
                                                                                            570,677.50         386.90                   1,475.00      1,195.00      462,345.50
                                                                                              7,777.50           5.10                   1,525.00      1,195.00        6,094.50
Lauren O Casazza, P.C.    Partner           Litigation - General                2002        352,308.00         376.80          N/A        935.00        935.00      352,308.00
Richard M Cieri           Partner           Restructuring                       2004        235,773.50         197.30            1      1,195.00      1,195.00      235,773.50
                                                                                            667,818.00         536.40                   1,245.00      1,195.00      640,998.00
Paul D Clement, P.C.      Partner           Litigation - Appellate              1994          5,681.00           3.80            1      1,495.00      1,495.00        5,681.00
                                                                                              2,617.50           1.50                   1,745.00      1,495.00        2,242.50
Thad Davis                Partner           Taxation                            2005            462.50           0.50            4        925.00        925.00          462.50
                                                                                              1,194.00           1.20                     995.00        925.00        1,110.00
                                                                                             14,839.00          14.20                   1,045.00        925.00       13,135.00
                                                                                              1,237.50           1.10                   1,125.00        925.00        1,017.50
                                                                                              1,482.00           1.20                   1,235.00        925.00        1,110.00
Barack S Echols, P.C.     Partner           Litigation - General                1999        190,183.00         188.30            2      1,010.00      1,010.00      190,183.00


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                                                                                                                                    Hourly Rate Billed          Fees Billed

                                                                                                                                                                   In this
                                                                                                                                                                Application
                                                                                           Fees          Hours                                                    at First
                                                                                           Billed        Billed         Number                   In the First     Interim
                                                                            Date of        In this        In this       of Rate      In this       Interim      Application
       Attorney Name              Position               Department        Admission     Application    Application    Increases   Application   Application    Billing Rate
                                                                                           69,597.50           67.90                  1,025.00       1,010.00       68,579.00
                                                                                          105,187.50          93.50                   1,125.00      1,010.00       94,435.00
Mark Filip, P.C.            Partner           Litigation - General            1995          5,138.50           4.30          N/A      1,195.00      1,195.00        5,138.50
Gregory W Gallagher, P.C.   Partner           Taxation                        1997         86,108.00          82.40            6      1,045.00      1,045.00       86,108.00
                                                                                          651,155.50         544.90                   1,195.00      1,045.00      569,420.50
                                                                                         1,622,310.00      1,272.40                   1,275.00      1,045.00     1,329,658.00
                                                                                          865,490.00         653.20                   1,325.00      1,045.00      682,594.00
                                                                                          173,255.50         119.90                   1,445.00      1,045.00      125,295.50
                                                                                           71,980.00          47.20                   1,525.00      1,045.00       49,324.00
                                                                                           13,727.50           8.50                   1,615.00      1,045.00        8,882.50
                                                                                           86,108.00          82.40                   1,045.00      1,045.00       86,108.00
                                                                                          651,155.50         544.90                   1,195.00      1,045.00      569,420.50
                                                                                         1,622,310.00      1,272.40                   1,275.00      1,045.00     1,329,658.00
                                                                                          865,490.00         653.20                   1,325.00      1,045.00      682,594.00
Bruce Gelman, P.C.          Partner           Taxation                        1993            637.50           0.50          N/A      1,275.00      1,275.00          637.50
Stephen C Hackney, P.C.     Partner           Litigation - General            1997            915.00           1.00          N/A        915.00        915.00          915.00
Stephen E Hessler, P.C.     Partner           Restructuring                   2002        263,670.00         282.00            2        935.00        935.00      263,670.00
                                                                                         1,209,024.50      1,215.10                     995.00        935.00     1,136,118.50
                                                                                          487,600.00         460.00                   1,060.00        935.00      430,100.00
Chad J Husnick, P.C.        Partner           Restructuring                   2004        240,744.00         286.60            6        840.00        840.00      240,744.00
                                                                                         1,108,705.50      1,211.70                     915.00        840.00     1,017,828.00
                                                                                         2,196,480.00      2,252.80                     975.00        840.00     1,892,352.00
                                                                                          976,967.00         896.30                   1,090.00        840.00      752,892.00
                                                                                          976,153.50         837.90                   1,165.00        840.00      703,836.00
                                                                                           49,551.00          39.80                   1,245.00        840.00       33,432.00
                                                                                           56,287.50          39.50                   1,425.00        840.00       33,180.00



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                                                                                                                                       Hourly Rate Billed          Fees Billed

                                                                                                                                                                      In this
                                                                                                                                                                   Application
                                                                                              Fees          Hours                                                    at First
                                                                                              Billed        Billed         Number                   In the First     Interim
                                                                               Date of        In this        In this       of Rate      In this       Interim      Application
       Attorney Name             Position              Department             Admission     Application    Application    Increases   Application   Application    Billing Rate
Sarkis Jebejian, P.C.      Partner           Corporate - M&A/Private Equity     1995          11,113.50            9.30         N/A      1,195.00       1,195.00       11,113.50
Christopher Keegan         Partner           Litigation - General               2002         267,187.50         312.50            1        855.00        855.00      267,187.50
                                                                                               1,300.00           1.30                   1,000.00        855.00        1,111.50
Atif Khawaja               Partner           Litigation - General               2003           4,040.00           4.00            1      1,010.00      1,010.00        4,040.00
                                                                                               8,610.00           8.40                   1,025.00      1,010.00        8,484.00
Marc Kieselstein, P.C.     Partner           Restructuring                      1988         310,725.00         276.20            4      1,125.00      1,125.00      310,725.00
                                                                                            1,956,487.00      1,584.20                   1,235.00      1,125.00     1,782,225.00
                                                                                             992,718.00         757.80                   1,310.00      1,125.00      852,525.00
                                                                                            1,218,497.50        826.10                   1,475.00      1,125.00      929,362.50
                                                                                             300,644.50         201.10                   1,495.00      1,125.00      226,237.50
Michelle Kilkenney, P.C.   Partner           Corporate - Debt Finance           2002          67,483.00          75.40            5        895.00        895.00       67,483.00
                                                                                              77,510.50          77.90                     995.00        895.00       69,720.50
                                                                                             168,116.00         158.60                   1,060.00        895.00      141,947.00
                                                                                             409,920.00         366.00                   1,120.00        895.00      327,570.00
                                                                                             115,272.50          94.10                   1,225.00        895.00       84,219.50
                                                                                                 789.00           0.60                   1,315.00        895.00          537.00
Michael Kim, P.C.          Partner           Corporate - Capital Markets        2003            8,200.00          8.00            1      1,025.00      1,025.00        8,200.00
                                                                                               7,560.00           7.00                   1,080.00      1,025.00        7,175.00
Joshua N Korff, P.C.       Partner           Corporate - Capital Markets        1994            3,112.50          2.50            1      1,245.00      1,245.00        3,112.50
                                                                                              30,475.00          23.00                   1,325.00      1,245.00       28,635.00
Michael Krasnovsky         Partner           Executive Compensation             2004            6,796.50          6.90            1        985.00        985.00        6,796.50
                                                                                                 205.00           0.20                   1,025.00        985.00          197.00
Brian R Land               Partner           Environment - Transactional        1989             876.00           0.80          N/A      1,095.00      1,095.00          876.00
Christopher Landau, P.C.   Partner           Litigation - Appellate             1990           2,790.00           2.00            1      1,395.00      1,395.00        2,790.00
                                                                                              23,770.50          15.90                   1,495.00      1,395.00       22,180.50
Adam D Larson, P.C.        Partner           Corporate - M&A/Private Equity     2007            3,262.00          2.80          N/A      1,165.00      1,165.00        3,262.00



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                                                                                                                                   Hourly Rate Billed          Fees Billed

                                                                                                                                                                  In this
                                                                                                                                                               Application
                                                                                          Fees          Hours                                                    at First
                                                                                          Billed        Billed         Number                   In the First     Interim
                                                                           Date of        In this        In this       of Rate      In this       Interim      Application
       Attorney Name          Position               Department           Admission     Application    Application    Increases   Application   Application    Billing Rate
William A Levy, P.C.    Partner           Taxation                           1988          1,635.00            1.50         N/A      1,090.00       1,090.00        1,635.00
                                                                                                                            N/A
                                                                                          14,698.50          12.30          N/A      1,195.00      1,090.00       13,407.00
                                                                                         666,952.50         523.10          N/A      1,275.00      1,090.00      570,179.00
                                                                                                                            N/A
                                                                                          51,277.50          38.70                   1,325.00      1,090.00       42,183.00
                                                                                           3,562.50           2.50                   1,425.00      1,090.00        2,725.00
Joseph A Loy, P.C.      Partner           IP Litigation                      2005         13,514.50          15.10          N/A        895.00        895.00       13,514.50
Roger S Lucas           Partner           Taxation                           1993           5,795.00          3.80          N/A      1,525.00      1,525.00        5,795.00
Todd F Maynes, P.C.     Partner           Taxation                           1988         97,020.00          79.20            6      1,225.00      1,225.00       97,020.00
                                                                                         662,004.00         511.20                   1,295.00      1,225.00      626,220.00
                                                                                        1,194,600.00        868.80                   1,375.00      1,225.00     1,064,280.00
                                                                                         718,309.50         497.10                   1,445.00      1,225.00      608,947.50
                                                                                         242,190.00         162.00                   1,495.00      1,225.00      198,450.00
                                                                                         870,837.50         535.90                   1,625.00      1,225.00      656,477.50
                                                                                         117,817.50          68.30                   1,725.00      1,225.00       83,667.50
Andrew R McGaan, P.C.   Partner           Litigation - General               1986       1,192,895.00      1,163.80            3      1,025.00      1,025.00     1,192,895.00
                                                                                        2,207,359.00      2,025.10                   1,090.00      1,025.00     2,075,727.50
                                                                                         664,605.00         547.00                   1,215.00      1,025.00      560,675.00
                                                                                         263,675.00         199.00                   1,325.00      1,025.00      203,975.00
Mark McKane, P.C.       Partner           Litigation - General               1999       1,567,875.00      1,695.00            4        925.00        925.00     1,567,875.00
                                                                                        2,136,920.00      2,084.80                   1,025.00        925.00     1,928,440.00
                                                                                        1,284,410.00      1,194.80                   1,075.00        925.00     1,105,190.00
                                                                                        1,207,547.50      1,027.70                   1,175.00        925.00      950,622.50
                                                                                         148,030.50         118.90                   1,245.00        925.00      109,982.50
Andres C Mena, P.C.     Partner           Corporate - Debt Finance           2001         18,974.00          21.20            2        895.00        895.00       18,974.00
                                                                                          20,696.00          20.80                     995.00        895.00       18,616.00
                                                                                          18,020.00          17.00                   1,060.00        895.00       15,215.00



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                                                                                                                                    Hourly Rate Billed          Fees Billed

                                                                                                                                                                   In this
                                                                                                                                                                Application
                                                                                           Fees          Hours                                                    at First
                                                                                           Billed        Billed         Number                   In the First     Interim
                                                                            Date of        In this        In this       of Rate      In this       Interim      Application
        Attorney Name         Position               Department            Admission     Application    Application    Increases   Application   Application    Billing Rate
Scott A Moehrke, P.C.   Partner           Corporate - Investment Funds       2003           1,165.00            1.00           1      1,165.00       1,165.00        1,165.00
                                                                                            1,270.00           1.00                   1,270.00      1,165.00        1,165.00
Lee K Morlock, P.C.     Partner           Taxation                           2004            2,650.00          2.00          N/A      1,325.00      1,325.00        2,650.00
Kevin L Morris          Partner           Corporate - M&A/Private Equity     2002         272,688.00         262.20          N/A      1,040.00      1,040.00      272,688.00
Erin E Murphy           Partner           Litigation - Appellate             2006          46,905.00          35.40          N/A      1,325.00      1,325.00       46,905.00
Dennis M Myers, P.C.    Partner           Corporate - Capital Markets        1996         135,787.50         120.70            4      1,125.00      1,125.00      135,787.50
                                                                                           20,076.00          16.80                   1,195.00      1,125.00       18,900.00
                                                                                           18,550.50          14.90                   1,245.00      1,125.00       16,762.50
                                                                                           17,622.50          13.30                   1,325.00      1,125.00       14,962.50
                                                                                           30,345.00          21.00                   1,445.00      1,125.00       23,625.00
Linda K Myers, P.C.     Partner           Corporate - Debt Finance           1990         132,525.50         110.90            5      1,195.00      1,195.00      132,525.50
                                                                                          115,162.50          92.50                   1,245.00      1,195.00      110,537.50
                                                                                          680,255.00         513.40                   1,325.00      1,195.00      613,513.00
                                                                                         1,122,906.00        813.70                   1,380.00      1,195.00      972,371.50
                                                                                          278,037.50         188.50                   1,475.00      1,195.00      225,257.50
                                                                                           33,397.50          21.90                   1,525.00      1,195.00       26,170.50
David M Nemecek, P.C.   Partner           Corporate - Debt Finance           2003            2,089.50          2.10          N/A        995.00        995.00        2,089.50
Bridget K O'Connor      Partner           Litigation - General               2003        1,020,516.00      1,214.90          N/A        840.00        840.00     1,020,516.00
John C O'Quinn          Partner           IP Litigation                      2001           4,927.50           4.50          N/A      1,095.00      1,095.00        4,927.50
Adam C Paul, P.C.       Partner           Restructuring                      1999          13,606.50          14.10            2        965.00        965.00       13,606.50
                                                                                            2,163.00           2.10                   1,030.00        965.00        2,026.50
                                                                                            9,483.00           8.70                   1,090.00        965.00        8,395.50
Daniel Perlman, P.C.    Partner           Real Estate                        1985            7,557.00          6.60          N/A      1,145.00      1,145.00        7,557.00
John Pitts, P.C.        Partner           Corporate - M&A/Private Equity     2010         122,667.00         131.90            3        930.00        930.00      122,667.00
                                                                                          327,653.50         329.30                     995.00        930.00      306,249.00
                                                                                          172,243.50         157.30                   1,095.00        930.00      146,289.00



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                                                                                                                                         Hourly Rate Billed          Fees Billed

                                                                                                                                                                        In this
                                                                                                                                                                     Application
                                                                                                Fees          Hours                                                    at First
                                                                                                Billed        Billed         Number                   In the First     Interim
                                                                                 Date of        In this        In this       of Rate      In this       Interim      Application
       Attorney Name             Position               Department              Admission     Application    Application    Increases   Application   Application    Billing Rate
                                                                                                13,395.00           11.40                  1,175.00         930.00       10,602.00
Scott D Price              Partner           Executive Compensation                1998           8,702.00          7.60            5      1,145.00      1,145.00        8,702.00
                                                                                               101,755.00          86.60                   1,175.00      1,145.00       99,157.00
                                                                                                66,483.00          53.40                   1,245.00      1,145.00       61,143.00
                                                                                                39,087.50          29.50                   1,325.00      1,145.00       33,777.50
                                                                                                27,600.00          20.00                   1,380.00      1,145.00       22,900.00
                                                                                                   737.50           0.50                   1,475.00      1,145.00          572.50
Brenton A Rogers           Partner           Litigation - General                  2007        100,980.00         122.40            2        825.00        825.00      100,980.00
                                                                                              1,566,876.50      1,750.70                     895.00        825.00     1,444,327.50
                                                                                                85,352.00          90.80                     940.00        825.00       74,910.00
David Rosenberg            Partner           Real Estate                           2005          9,934.50          11.10          N/A        895.00        895.00        9,934.50
Edward O Sassower, P.C.    Partner           Restructuring                         2000        244,404.00         223.20            5      1,095.00      1,095.00      244,404.00
                                                                                              1,412,550.00      1,255.60                   1,125.00      1,095.00     1,374,882.00
                                                                                              2,337,361.00      1,892.60                   1,235.00      1,095.00     2,072,397.00
                                                                                               715,260.00         546.00                   1,310.00      1,095.00      597,870.00
                                                                                               347,424.00         246.40                   1,410.00      1,095.00      269,808.00
                                                                                                50,445.00          35.40                   1,425.00      1,095.00       38,763.00
Brian E Schartz            Partner           Restructuring                         2008        250,325.00         323.00            3        775.00        775.00      250,325.00
                                                                                              1,140,132.00      1,357.30                     840.00        775.00     1,051,907.50
                                                                                              1,493,859.00      1,606.30                     930.00        775.00     1,244,882.50
                                                                                                 2,885.50           2.90                     995.00        775.00        2,247.50
Edward Schneidman, P.C.    Partner           Corporate - Capital Markets           1980           9,450.00          8.40          N/A      1,125.00      1,125.00        9,450.00
Joseph Serino, Jr., P.C.   Partner           Litigation - General                  1988         48,090.00          42.00            1      1,145.00      1,145.00       48,090.00
                                                                                                 5,757.50           4.70                   1,225.00      1,145.00        5,381.50
Dean S Shulman, P.C.       Partner           Taxation                              1992           1,156.00          0.80            1      1,445.00      1,445.00        1,156.00
                                                                                                 8,671.00           5.80                   1,495.00      1,445.00        8,381.00



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                                                                                                                                        Hourly Rate Billed           Fees Billed

                                                                                                                                                                        In this
                                                                                                                                                                     Application
                                                                                               Fees          Hours                                                     at First
                                                                                               Billed        Billed         Number                    In the First     Interim
                                                                                Date of        In this        In this       of Rate      In this        Interim      Application
       Attorney Name               Position               Department           Admission     Application    Application    Increases   Application    Application    Billing Rate
Michael B Slade              Partner           Litigation - General               1999         56,743.50           62.70           1         905.00         905.00       56,743.50
                                                                                              148,951.50         149.70                     995.00         905.00      135,478.50
Lucas Spivey, P.C.           Partner           Corporate - Debt Finance           2007            497.50           0.50          N/A        995.00         995.00          497.50
James H M Sprayregen, P.C.   Partner           Restructuring                      1985         40,988.50          34.30            5      1,195.00       1,195.00       40,988.50
                                                                                              677,778.00         544.40                   1,245.00       1,195.00      650,558.00
                                                                                             1,860,962.50      1,404.50                   1,325.00       1,195.00     1,678,377.50
                                                                                              507,426.00         367.70                   1,380.00       1,195.00      439,401.50
                                                                                              567,285.00         384.60                   1,475.00       1,195.00      459,597.00
                                                                                               16,531.50          10.70                   1,545.00       1,195.00       12,786.50
Sara B Zablotney, P.C.       Partner           Taxation                           2003        272,107.50         248.50            4      1,095.00       1,095.00      272,107.50
                                                                                              732,202.50         628.50                   1,165.00       1,095.00      688,207.50
                                                                                              451,045.00         368.20                   1,225.00       1,095.00      403,179.00
                                                                                              162,522.50         125.50                   1,295.00       1,095.00      137,422.50
                                                                                               19,108.00          13.60                   1,405.00       1,095.00       14,892.00
Dean C Bachus                Partner           Executive Compensation             2004            292.50           0.30            2        975.00         975.00          292.50
                                                                                                2,600.00           2.50                   1,040.00         975.00        2,437.50
                                                                                                1,199.00           1.10                   1,090.00         975.00        1,072.50
Andrew Barton                Partner           Executive Compensation             2010         47,620.50          59.90            5        795.00         795.00       47,620.50
                                                                                               19,942.00          23.60                     845.00         795.00       18,762.00
                                                                                               33,294.00          37.20                     895.00         795.00       29,574.00
                                                                                               12,502.00          13.30                     940.00         795.00       10,573.50
                                                                                                3,402.00           3.60                     945.00         795.00        2,862.00
                                                                                                1,094.50           1.10                     995.00         795.00          874.50
Aaron M Berlin               Partner           Corporate - Debt Finance           2011         10,412.50          17.50            4        595.00         595.00       10,412.50
                                                                                               10,650.50          11.90                     895.00         595.00        7,080.50
                                                                                              125,200.50         131.10                     955.00         595.00       78,004.50



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                                                                                                                                       Hourly Rate Billed           Fees Billed

                                                                                                                                                                       In this
                                                                                                                                                                    Application
                                                                                              Fees          Hours                                                     at First
                                                                                              Billed        Billed         Number                    In the First     Interim
                                                                               Date of        In this        In this       of Rate      In this        Interim      Application
       Attorney Name         Position               Department                Admission     Application    Application    Increases   Application    Application    Billing Rate
                                                                                               4,477.50            4.50                     995.00         595.00        2,677.50
                                                                                               6,061.00           5.80                   1,045.00         595.00        3,451.00
Katherine Bolanowski   Partner           Corporate - Debt Finance               2009          99,045.00         139.50            5        710.00         710.00       99,045.00
                                                                                              16,297.50          20.50                     795.00         710.00       14,555.00
                                                                                              48,503.00          57.40                     845.00         710.00       40,754.00
                                                                                             245,528.00         261.20                     940.00         710.00      185,452.00
                                                                                              23,152.50          24.50                     945.00         710.00       17,395.00
                                                                                              10,660.50          10.30                   1,035.00         710.00        7,313.00
Marin K Boney          Partner           Litigation - Antitrust/Competition     2008             387.50           0.50            3        775.00         775.00          387.50
                                                                                                 247.50           0.30                     825.00         775.00          232.50
                                                                                               3,240.00           3.60                     900.00         775.00        2,790.00
                                                                                                 796.00           0.80                     995.00         775.00          620.00
Stephen Butler         Partner           Taxation                               2009             319.50           0.30          N/A      1,065.00       1,065.00          319.50
Jeanne T Cohn-Connor   Partner           Environment - Transactional            1985            3,910.00          4.60            4        850.00         850.00        3,910.00
                                                                                             153,582.00         171.60                     895.00         850.00      145,860.00
                                                                                             634,693.00         664.60                     955.00         850.00      564,910.00
                                                                                             208,868.00         206.80                   1,010.00         850.00      175,780.00
                                                                                               2,042.50           1.90                   1,075.00         850.00        1,615.00
Cormac T Connor        Partner           Litigation - Gov/Reg/Internal          2006         498,867.50         643.70            2        775.00         775.00      498,867.50
                                         Investgn
                                                                                            1,122,751.50      1,328.70                     845.00         775.00     1,029,742.50
                                                                                                 465.00           0.50                     930.00         775.00          387.50
Rana B Dawson          Partner           Litigation - General                   2008             270.00           0.30          N/A        900.00         900.00          270.00
John P Del Monaco      Partner           Litigation - General                   2005            8,502.50          9.50          N/A        895.00         895.00        8,502.50
David R Dempsey        Partner           Litigation - General                   2006        1,463,137.50      1,773.50          N/A        825.00         825.00     1,463,137.50
Kristen L Derhaag      Partner           Corporate - Debt Finance               2012          27,965.00          47.00            2        595.00         595.00       27,965.00
                                                                                               2,123.50           3.10                     685.00         595.00        1,844.50



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                                                                                                                                   Hourly Rate Billed           Fees Billed

                                                                                                                                                                   In this
                                                                                                                                                                Application
                                                                                          Fees          Hours                                                     at First
                                                                                          Billed        Billed         Number                    In the First     Interim
                                                                           Date of        In this        In this       of Rate      In this        Interim      Application
       Attorney Name         Position              Department             Admission     Application    Application    Increases   Application    Application    Billing Rate
                                                                                           2,409.00            3.30                     730.00         595.00        1,963.50
Thomas Dobleman        Partner           Corporate - Debt Finance           2011         444,994.00         497.20            2        895.00         895.00      444,994.00
                                                                                         102,438.00         108.40                     945.00         895.00       97,018.00
                                                                                          25,074.00          25.20                     995.00         895.00       22,554.00
David N Draper         Partner           IP Litigation                      2009          27,904.50          35.10          N/A        795.00         795.00       27,904.50
Lisa G Esayian         Partner           Litigation - General               1991         360,912.00         350.40            2      1,030.00       1,030.00      360,912.00
                                                                                         239,257.50         218.50                   1,095.00       1,030.00      225,055.00
                                                                                          45,227.50          39.50                   1,145.00       1,030.00       40,685.00
Michael Esser          Partner           Litigation - General               2009         388,867.00         547.70            6        710.00         710.00      388,867.00
                                                                                         826,350.00       1,101.80                     750.00         710.00      782,278.00
                                                                                         700,315.50         880.90                     795.00         710.00      625,439.00
                                                                                         830,445.00       1,006.60                     825.00         710.00      714,686.00
                                                                                         895,300.00       1,023.20                     875.00         710.00      726,472.00
                                                                                         605,827.00         627.80                     965.00         710.00      445,738.00
                                                                                          21,109.00          20.20                   1,045.00         710.00       14,342.00
Stephen Fraidin        Partner           Corporate - M&A/Private Equity     1965          10,956.00           8.80          N/A      1,245.00       1,245.00       10,956.00
Jonathan F Ganter      Partner           Litigation - General               2010         364,725.00         486.30            5        750.00         750.00      364,725.00
                                                                                         705,947.50         910.90                     775.00         750.00      683,175.00
                                                                                        1,666,005.00      2,019.40                     825.00         750.00     1,514,550.00
                                                                                         990,810.00       1,100.90                     900.00         750.00      825,675.00
                                                                                        1,096,490.00      1,102.00                     995.00         750.00      826,500.00
                                                                                         167,055.00         155.40                   1,075.00         750.00      116,550.00
Emily Geier            Partner           Restructuring                      2012         288,456.00         484.80            6        595.00         595.00      288,456.00
                                                                                         761,172.00       1,111.20                     685.00         595.00      661,164.00
                                                                                        1,039,155.00      1,423.50                     730.00         595.00      846,982.50
                                                                                        1,144,800.00      1,440.00                     795.00         595.00      856,800.00



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                                                                                                                                 Hourly Rate Billed           Fees Billed

                                                                                                                                                                 In this
                                                                                                                                                              Application
                                                                                        Fees          Hours                                                     at First
                                                                                        Billed        Billed         Number                    In the First     Interim
                                                                           Date of      In this        In this       of Rate      In this        Interim      Application
        Attorney Name         Position             Department             Admission   Application    Application    Increases   Application    Application    Billing Rate
                                                                                       521,703.00          617.40                     845.00         595.00     367,353.00
                                                                                       222,318.00         248.40                     895.00         595.00      147,798.00
                                                                                        47,081.50          49.30                     955.00         595.00       29,333.50
Stefanie I Gitler       Partner          Environment - Transactional        2009          5,565.00          7.00            2        795.00         795.00        5,565.00
                                                                                         5,370.00           6.00                     895.00         795.00        4,770.00
                                                                                           895.50           0.90                     995.00         795.00         715.50
Scott J Gordon          Partner          Corporate - Derivatives            1995           819.00           0.70          N/A      1,170.00       1,170.00         819.00
Jeffrey M Gould         Partner          Litigation - General               2008       690,696.00         868.80            2        795.00         795.00      690,696.00
                                                                                      1,032,152.00      1,172.90                     880.00         795.00      932,455.50
                                                                                        15,375.50          16.10                     955.00         795.00       12,799.50
William Guerrieri       Partner          Restructuring                      2008       147,900.00         197.20            2        750.00         750.00      147,900.00
                                                                                       413,952.00         492.80                     840.00         750.00      369,600.00
                                                                                       320,052.00         357.60                     895.00         750.00      268,200.00
John O Gunderson        Partner          Corporate - Capital Markets        2009       103,305.00         145.50          N/A        710.00         710.00      103,305.00
Inbal Hasbani           Partner          Litigation - General               2010        57,510.00          81.00            2        710.00         710.00       57,510.00
                                                                                        89,920.50         119.10                     755.00         710.00       84,561.00
                                                                                        32,277.00          40.60                     795.00         710.00       28,826.00
Warren Haskel           Partner          Litigation - General               2009       142,725.00         173.00            2        825.00         825.00      142,725.00
                                                                                       352,980.00         392.20                     900.00         825.00      323,565.00
                                                                                         3,084.50           3.10                     995.00         825.00        2,557.50
Erik Hepler             Partner          Corporate - Debt Finance           1990        11,343.00          11.40            3        995.00         995.00       11,343.00
                                                                                        21,942.00          20.70                   1,060.00         995.00       20,596.50
                                                                                        46,032.00          41.10                   1,120.00         995.00       40,894.50
                                                                                         5,497.00           4.60                   1,195.00         995.00        4,577.00
George W Hicks, Jr.     Partner          Litigation - Appellate             2006        21,492.00          21.60          N/A        995.00         995.00       21,492.00
Edward B Holzwanger     Partner          Labor & Employment                 2004          2,475.00          3.00            1        825.00         825.00        2,475.00



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                                                                                                                                    Hourly Rate Billed           Fees Billed

                                                                                                                                                                    In this
                                                                                                                                                                 Application
                                                                                          Fees           Hours                                                     at First
                                                                                          Billed         Billed         Number                    In the First     Interim
                                                                              Date of      In this        In this       of Rate      In this        Interim      Application
       Attorney Name         Position              Department                Admission   Application    Application    Increases   Application    Application    Billing Rate
                                                                                               855.00           0.90                     950.00         825.00          742.50
Sam S Hong             Partner          Technology & IP Transactions           2008        10,891.50          15.90            5        685.00         685.00       10,891.50
                                                                                           11,534.00          15.80                     730.00         685.00       10,823.00
                                                                                            1,828.50           2.30                     795.00         685.00        1,575.50
                                                                                           11,069.50          13.10                     845.00         685.00        8,973.50
                                                                                            3,669.50           4.10                     895.00         685.00        2,808.50
                                                                                              477.50           0.50                     955.00         685.00          342.50
Richard U S Howell     Partner          Litigation - General                   2006       293,673.00         369.40            2        795.00         795.00      293,673.00
                                                                                          854,480.00         971.00                     880.00         795.00      771,945.00
                                                                                           32,374.50          33.90                     955.00         795.00       26,950.50
Reid Huefner           Partner          IP Litigation                          2007        21,080.00          27.20            1        775.00         775.00       21,080.00
                                                                                          362,589.50         429.10                     845.00         775.00      332,552.50
Ellen M Jakovic        Partner          Litigation - Antitrust/Competition     1985         9,360.00           9.60            3        975.00         975.00        9,360.00
                                                                                           73,008.00          70.20                   1,040.00         975.00       68,445.00
                                                                                          154,550.00         140.50                   1,100.00         975.00      136,987.50
                                                                                           19,981.50          17.30                   1,155.00         975.00       16,867.50
Cyril V Jones          Partner          Corporate - M&A/Private Equity         2011        70,198.50          88.30            1        795.00         795.00       70,198.50
                                                                                           27,969.50          33.10                     845.00         795.00       26,314.50
Howard Kaplan          Partner          Litigation - General                   2011       173,383.00         291.40            4        595.00         595.00      173,383.00
                                                                                          169,242.50         254.50                     665.00         595.00      151,427.50
                                                                                          166,282.00         234.20                     710.00         595.00      139,349.00
                                                                                          713,701.50         945.30                     755.00         595.00      562,453.50
                                                                                           31,641.00          39.80                     795.00         595.00       23,681.00
Katherine R Katz       Partner          Litigation - General                   2010        40,350.00          53.80          N/A        750.00         750.00       40,350.00
Matthew D Keiser       Partner          Labor & Employment                     1998         3,435.00           3.00          N/A      1,145.00       1,145.00        3,435.00
Natalie H Keller       Partner          Taxation                               1997        49,742.00          47.60            2      1,045.00       1,045.00       49,742.00



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                                                                                                                                     Hourly Rate Billed          Fees Billed

                                                                                                                                                                    In this
                                                                                                                                                                 Application
                                                                                            Fees          Hours                                                    at First
                                                                                            Billed        Billed         Number                   In the First     Interim
                                                                               Date of      In this        In this       of Rate      In this       Interim      Application
       Attorney Name              Position              Department            Admission   Application    Application    Increases   Application   Application    Billing Rate
                                                                                                956.00           0.80                  1,195.00       1,045.00          836.00
                                                                                               741.00           0.60                   1,235.00      1,045.00          627.00
Gregg G Kirchhoefer, P.C.   Partner          Technology & IP Transactions       1982        22,360.00          20.80            3      1,075.00      1,075.00       22,360.00
                                                                                            26,220.50          22.90                   1,145.00      1,075.00       24,617.50
                                                                                            31,428.50          26.30                   1,195.00      1,075.00       28,272.50
                                                                                               647.50           0.50                   1,295.00      1,075.00          537.50
Daniel Lewis                Partner          Technology & IP Transactions       2008          4,452.00          5.30            3        840.00        840.00        4,452.00
                                                                                             7,786.50           8.70                     895.00        840.00        7,308.00
                                                                                             4,777.50           4.90                     975.00        840.00        4,116.00
                                                                                               527.50           0.50                   1,055.00        840.00          420.00
Polina Liberman             Partner          Taxation                           2010           760.50           0.90          N/A        845.00        845.00          760.50
Ashley E Littlefield        Partner          Litigation - General               2011        23,324.00              2          N/A        595.00        595.00       23,324.00
                                                                                            42,959.00                         N/A        665.00        595.00       38,437.00
                                                                                             2,718.00                         N/A        755.00        595.00        2,142.00
Jeffery Lula                Partner          Litigation - General               2010        36,707.00          51.70            3        710.00        710.00       36,707.00
                                                                                           214,495.50         284.10                     755.00        710.00      201,711.00
                                                                                           506,812.50         637.50                     795.00        710.00      452,625.00
                                                                                             2,197.00           2.60                     845.00        710.00        1,846.00
Joshua R McLane             Partner          Taxation                           2009          9,875.00         12.50            1        790.00        790.00        9,875.00
                                                                                                92.00           0.10                     920.00        790.00           79.00
Amber J Meek                Partner          Corporate - M&A/Private Equity     2009       245,210.00         316.40            3        775.00        775.00      245,210.00
                                                                                           101,640.00         121.00                     840.00        775.00       93,775.00
                                                                                          1,188,633.00      1,278.10                     930.00        775.00      990,527.50
                                                                                            67,560.50          67.90                     995.00        775.00       52,622.50
Roberto S Miceli            Partner          Real Estate                        2000          1,770.00          2.00            2        885.00        885.00        1,770.00
                                                                                             4,063.50           4.30                     945.00        885.00        3,805.50



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                                                                                                                                 Hourly Rate Billed           Fees Billed

                                                                                                                                                                 In this
                                                                                                                                                              Application
                                                                                        Fees          Hours                                                     at First
                                                                                        Billed        Billed         Number                    In the First     Interim
                                                                           Date of      In this        In this       of Rate      In this        Interim      Application
        Attorney Name         Position            Department              Admission   Application    Application    Increases   Application    Application    Billing Rate
                                                                                         4,676.50            4.70                     995.00         885.00        4,159.50
Marsha Mogilevich       Partner          Corporate - Capital Markets        2012           507.00           0.60          N/A        845.00         845.00          507.00
John S Moran            Partner          Litigation - General               2012        19,929.00          27.30          N/A        730.00         730.00       19,929.00
Veronica Nunn           Partner          Corporate - M&A/Private Equity     2010       328,526.00         479.60            7        685.00         685.00      328,526.00
                                                                                       212,284.00         290.80                     730.00         685.00      199,198.00
                                                                                       371,583.00         467.40                     795.00         685.00      320,169.00
                                                                                       219,615.50         259.90                     845.00         685.00      178,031.50
                                                                                       909,588.50       1,016.30                     895.00         685.00      696,165.50
                                                                                       113,494.50         120.10                     945.00         685.00       82,268.50
                                                                                       408,646.50         410.70                     995.00         685.00      281,329.50
                                                                                        13,237.00          12.20                   1,085.00         685.00        8,357.00
Bryan M O'Keefe         Partner          Labor & Employment                 2011           528.50           0.70          N/A        755.00         755.00          528.50
Benjamin D Panter       Partner          Executive Compensation             2006          1,050.00          1.20          N/A        875.00         875.00        1,050.00
Matthew E Papez, P.C.   Partner          Litigation - General               1999        63,888.00          72.60            1        880.00         880.00       63,888.00
                                                                                       203,923.50         218.10                     935.00         880.00      191,928.00
Samara Penn Savary      Partner          Litigation - General               2010       355,071.00         500.10            2        710.00         710.00      355,071.00
                                                                                       244,922.00         324.40                     755.00         710.00      230,324.00
                                                                                        70,039.50          88.10                     795.00         710.00       62,551.00
Gregory F Pesce         Partner          Restructuring                      2011         1,644.00           2.40          N/A        685.00         685.00        1,644.00
Michael A Petrino       Partner          Litigation - General               2008        11,550.00          15.40            5        750.00         750.00       11,550.00
                                                                                       482,670.00         622.80                     775.00         750.00      467,100.00
                                                                                      1,141,882.50      1,384.10                     825.00         750.00     1,038,075.00
                                                                                       455,040.00         505.60                     900.00         750.00      379,200.00
                                                                                       212,432.50         213.50                     995.00         750.00      160,125.00
                                                                                        31,390.00          29.20                   1,075.00         750.00       21,900.00
Carl Pickerill          Partner          Restructuring                      2008        31,124.00          50.20            1        620.00         620.00       31,124.00



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                                                                                                                                Hourly Rate Billed           Fees Billed

                                                                                                                                                                In this
                                                                                                                                                             Application
                                                                                       Fees          Hours                                                     at First
                                                                                       Billed        Billed         Number                    In the First     Interim
                                                                          Date of      In this        In this       of Rate      In this        Interim      Application
       Attorney Name         Position             Department             Admission   Application    Application    Increases   Application    Application    Billing Rate
                                                                                        7,095.00           11.00                     645.00         620.00        6,820.00
William T Pruitt       Partner          Litigation - General               2004      1,064,448.00      1,267.20            3        840.00         840.00     1,064,448.00
                                                                                      224,734.50         251.10                     895.00         840.00      210,924.00
                                                                                       18,330.00          19.50                     940.00         840.00       16,380.00
                                                                                          542.50           0.50                   1,085.00         840.00          420.00
Jeffrey S Quinn        Partner          Employee Benefits                  1998        15,887.50          15.50            2      1,025.00       1,025.00       15,887.50
                                                                                      140,180.00         130.40                   1,075.00       1,025.00      133,660.00
                                                                                        5,616.50           4.70                   1,195.00       1,025.00        4,817.50
Alan Rabinowitz        Partner          IP Litigation                      2010        59,916.50          90.10            1        665.00         665.00       59,916.50
                                                                                       72,349.00         101.90                     710.00         665.00       67,763.50
Mark Ramzy             Partner          Corporate - M&A/Private Equity     2010        14,105.00          13.00          N/A      1,085.00       1,085.00       14,105.00
Jeffrey Rheeling       Partner          Real Estate                        1997        24,097.50          25.50          N/A        945.00         945.00       24,097.50
Bradford B Rossi       Partner          Corporate - M&A/Private Equity     2011        45,687.50          73.10            3        625.00         625.00       45,687.50
                                                                                       23,221.50          33.90                     685.00         625.00       21,187.50
                                                                                      162,279.00         222.30                     730.00         625.00      138,937.50
                                                                                       30,251.00          35.80                     845.00         625.00       22,375.00
Joshua Samis           Partner          Corporate - Debt Finance           2007        89,745.00         115.80            4        775.00         775.00       89,745.00
                                                                                      109,032.00         129.80                     840.00         775.00      100,595.00
                                                                                      130,200.00         140.00                     930.00         775.00      108,500.00
                                                                                      361,782.00         363.60                     995.00         775.00      281,790.00
                                                                                          645.00           0.60                   1,075.00         775.00          465.00
Michael A Schulman     Partner          Labor & Employment                 2012         1,590.00           2.00          N/A        795.00         795.00        1,590.00
Steven Serajeddini     Partner          Restructuring                      2010       420,107.00         591.70            5        710.00         710.00      420,107.00
                                                                                      856,692.00       1,077.60                     795.00         710.00      765,096.00
                                                                                     1,127,230.00      1,334.00                     845.00         710.00      947,140.00
                                                                                     1,039,811.00      1,161.80                     895.00         710.00      824,878.00



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                                                                                                                                         Hourly Rate Billed           Fees Billed

                                                                                                                                                                         In this
                                                                                                                                                                      Application
                                                                                                Fees          Hours                                                     at First
                                                                                                Billed        Billed         Number                    In the First     Interim
                                                                                   Date of      In this        In this       of Rate      In this        Interim      Application
       Attorney Name              Position              Department                Admission   Application    Application    Increases   Application    Application    Billing Rate
                                                                                                57,528.00           61.20                     940.00         710.00       43,452.00
                                                                                                   850.50           0.90                     945.00         710.00          639.00
Anthony Sexton              Partner          Taxation                               2011       354,025.00         595.00            9        595.00         595.00      354,025.00
                                                                                               120,292.50         186.50                     645.00         595.00      110,967.50
                                                                                               989,277.00       1,444.20                     685.00         595.00      859,299.00
                                                                                               294,600.00         392.80                     750.00         595.00      233,716.00
                                                                                               267,189.00         316.20                     845.00         595.00      188,139.00
                                                                                               708,124.00         791.20                     895.00         595.00      470,764.00
                                                                                               216,405.00         229.00                     945.00         595.00      136,255.00
                                                                                               229,491.50         226.10                   1,015.00         595.00      134,529.50
                                                                                               267,488.00         257.20                   1,040.00         595.00      153,034.00
                                                                                                60,342.00          53.40                   1,130.00         595.00       31,773.00
Alec Solotorovsky           Partner          Litigation - General                   2008          9,452.50          9.50          N/A        995.00         995.00        9,452.50
Bryan M Stephany            Partner          Litigation - General                   2007      1,092,489.00      1,374.20            4        795.00         795.00     1,092,489.00
                                                                                              1,837,352.00      2,087.90                     880.00         795.00     1,659,880.50
                                                                                              1,177,037.50      1,232.50                     955.00         795.00      979,837.50
                                                                                              1,270,983.00      1,252.20                   1,015.00         795.00      995,499.00
                                                                                               212,009.00         195.40                   1,085.00         795.00      155,343.00
Christine Strumpen-Darrie   Partner          Corporate - Capital Markets            2003          6,825.00          7.00          N/A        975.00         975.00        6,825.00
David M Tarr                Partner          Corporate - Debt Finance               2007        11,527.50          14.50            1        795.00         795.00       11,527.50
                                                                                                 4,375.00           5.00                     875.00         795.00        3,975.00
Vincent Thorn               Partner          Taxation                               2009           259.50           0.30          N/A        865.00         865.00          259.50
Michael Thorpe              Partner          Litigation - Antitrust/Competition     2010           350.00           0.40            1        875.00         875.00          350.00
                                                                                                   193.00           0.20                     965.00         875.00          175.00
Brandon Vongsawad           Partner          Corporate - M&A/Private Equity         2009          2,632.00          2.80          N/A        940.00         940.00        2,632.00
Jason M Wilcox              Partner          IP Litigation                          2011         5,687.50           6.50          N/A        875.00         875.00        5,687.50



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                                                                                                                                                               Application
                                                                                         Fees          Hours                                                     at First
                                                                                         Billed        Billed         Number                    In the First     Interim
                                                                             Date of      In this       In this       of Rate      In this        Interim      Application
        Attorney Name          Position               Department            Admission   Application   Application    Increases   Application    Application    Billing Rate
Wayne E Williams         Partner           Corporate - Capital Markets        2006       145,803.00         183.40           5         795.00         795.00     145,803.00
                                                                                          93,712.50        107.10                     875.00         795.00       85,144.50
                                                                                         148,025.00        155.00                     955.00         795.00      123,225.00
                                                                                          65,994.00         64.70                   1,020.00         795.00       51,436.50
                                                                                          72,777.50         67.70                   1,075.00         795.00       53,821.50
                                                                                           5,052.50          4.30                   1,175.00         795.00        3,418.50
Paul Zier                Partner           Corporate - Capital Markets        2000         5,957.00          7.40          N/A        805.00         805.00        5,957.00
Jack N Bernstein         Of Counsel        Employee Benefits                  1995        23,250.00         25.00            4        930.00         930.00       23,250.00
                                                                                         172,638.50        178.90                     965.00         930.00      166,377.00
                                                                                         469,552.50        458.10                   1,025.00         930.00      426,033.00
                                                                                          58,050.00         54.00                   1,075.00         930.00       50,220.00
                                                                                           1,792.50          1.50                   1,195.00         930.00        1,395.00
John Donley, P.C.        Of Counsel        Litigation - General               1985         9,355.50          8.10          N/A      1,155.00       1,155.00        9,355.50
Jeffrey Gettleman        Of Counsel        Restructuring                      1974         1,700.50          1.90          N/A        895.00         895.00        1,700.50
Elizabeth Gottschalk     Of Counsel        Corporate - Investment Funds       2001           886.50          0.90          N/A        985.00         985.00         886.50
Vicki V Hood             Of Counsel        Employee Benefits                  1977        30,422.50         28.30            1      1,075.00       1,075.00       30,422.50
                                                                                           3,549.50          3.10                   1,145.00       1,075.00        3,332.50
John S Irving, Jr.       Of Counsel        Labor & Employment                 1965           572.50          0.50          N/A      1,145.00       1,145.00         572.50
Andrew M Kaufman, P.C.   Of Counsel        Corporate - Debt Finance           1974         6,467.50          6.50          N/A        995.00         995.00        6,467.50
JoAnne Nagjee            Of Counsel        Taxation                           2009       133,086.50        148.70            4        895.00         895.00      133,086.50
                                                                                         181,440.00        192.00                     945.00         895.00      171,840.00
                                                                                          53,354.00         51.80                   1,030.00         895.00       46,361.00
                                                                                             876.00          0.80                   1,095.00         895.00         716.00
                                                                                           1,508.00          1.30                   1,160.00         895.00        1,163.50
R Timothy Stephenson     Of Counsel        Labor & Employment                 1990         1,332.50          1.30            2      1,025.00       1,025.00        1,332.50
                                                                                           5,014.00          4.60                   1,090.00       1,025.00        4,715.00



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                                                                                                                                                               In this
                                                                                                                                                            Application
                                                                                       Fees          Hours                                                    at First
                                                                                       Billed        Billed         Number                   In the First     Interim
                                                                           Date of      In this       In this       of Rate      In this       Interim      Application
       Attorney Name         Position              Department             Admission   Application   Application    Increases   Application   Application    Billing Rate
                                                                                         6,755.50           5.90                  1,145.00       1,025.00        6,047.50
Julia Allen             Associate        Litigation - General               2012       159,536.00        306.80            2        520.00        520.00      159,536.00
                                                                                       398,412.00        669.60                     595.00        520.00      348,192.00
                                                                                       180,975.00        285.00                     635.00        520.00      148,200.00
Robert W Allen          Associate        Litigation - General               2012        52,122.00         71.40          N/A        730.00        730.00       52,122.00
Cristina Almendarez     Associate        IP Litigation                      2014        14,175.00         31.50            1        450.00        450.00       14,175.00
                                                                                        71,712.00        149.40                     480.00        450.00       67,230.00
Josh M Altman           Associate        Restructuring                      2015         2,178.00          3.60          N/A        605.00        605.00        2,178.00
James Barolo            Associate        Litigation - General               2014       101,160.00        224.80            3        450.00        450.00      101,160.00
                                                                                       360,864.00        751.80                     480.00        450.00      338,310.00
                                                                                       373,903.50        673.70                     555.00        450.00      303,165.00
                                                                                        11,290.50         19.30                     585.00        450.00        8,685.00
Galen B Bascom          Associate        Litigation - Appellate             2015        54,189.00         66.90          N/A        810.00        810.00       54,189.00
Erin Bishop             Associate        Litigation - General               2017         1,600.00          5.00          N/A        320.00        320.00        1,600.00
Rebecca Blake Chaikin   Associate        Restructuring                      2015       161,145.00        358.10            7        450.00        450.00      161,145.00
                                                                                       485,136.00      1,010.70                     480.00        450.00      454,815.00
                                                                                       480,966.00        843.80                     570.00        450.00      379,710.00
                                                                                       277,090.00        458.00                     605.00        450.00      206,100.00
                                                                                       186,607.50        268.50                     695.00        450.00      120,825.00
                                                                                       435,561.00        592.60                     735.00        450.00      266,670.00
                                                                                       345,606.50        413.90                     835.00        450.00      186,255.00
                                                                                        64,925.00         74.20                     875.00        450.00       33,390.00
Mary Elizabeth Brady    Associate        Corporate - Debt Finance           2014        32,928.00         44.80            2        735.00        735.00       32,928.00
                                                                                         2,421.50          2.90                     835.00        735.00        2,131.50
                                                                                         1,750.00          2.00                     875.00        735.00        1,470.00
Peter Bryce             Associate        Litigation - General               2014        43,576.00         83.80          N/A        520.00        520.00       43,576.00



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                                                                                                                                                               In this
                                                                                                                                                            Application
                                                                                      Fees          Hours                                                     at First
                                                                                      Billed        Billed         Number                    In the First     Interim
                                                                          Date of      In this       In this       of Rate      In this        Interim      Application
       Attorney Name        Position               Department            Admission   Application   Application    Increases   Application    Application    Billing Rate
Chris Burrichter       Associate        Litigation - General               2012        62,058.50         104.30         N/A         595.00         595.00       62,058.50
Megan Byrne            Associate        Litigation - General               2015        14,760.00         32.80            2        450.00         450.00       14,760.00
                                                                                       42,912.00         89.40                     480.00         450.00       40,230.00
                                                                                          777.00          1.40                     555.00         450.00          630.00
Steven M Cantor        Associate        Taxation                           2017        12,600.00         22.50          N/A        560.00         560.00       12,600.00
Jennifer E Catanese    Associate        Employee Benefits                  2012         5,148.00          9.90            2        520.00         520.00        5,148.00
                                                                                       10,875.00         17.40                     625.00         520.00        9,048.00
                                                                                          532.00          0.80                     665.00         520.00          416.00
Diana Chang            Associate        Litigation - General               2012        32,760.00         63.00            1        520.00         520.00       32,760.00
                                                                                      105,791.00        177.80                     595.00         520.00       92,456.00
Kevin Chang            Associate        Litigation - General               2014       136,350.00        303.00            3        450.00         450.00      136,350.00
                                                                                      142,320.00        296.50                     480.00         450.00      133,425.00
                                                                                      411,421.50        741.30                     555.00         450.00      333,585.00
                                                                                       26,851.50         45.90                     585.00         450.00       20,655.00
Michael C Cline        Associate        Corporate - General                2015         6,375.00         12.50          N/A        510.00         510.00        6,375.00
Maxwell Coll           Associate        Litigation - General               2016        32,800.50         59.10            2        555.00         555.00       32,800.50
                                                                                      377,685.00        599.50                     630.00         555.00      332,722.50
                                                                                       40,128.00         60.80                     660.00         555.00       33,744.00
Ryan Copeland          Associate        Corporate - Debt Finance           2012        32,266.00         44.20            2        730.00         730.00       32,266.00
                                                                                      353,787.50        456.50                     775.00         730.00      333,245.00
                                                                                       63,580.00         74.80                     850.00         730.00       54,604.00
Katherine Coverdale    Associate        Executive Compensation             2010         8,470.00         14.00            3        605.00         605.00        8,470.00
                                                                                       32,456.50         46.70                     695.00         605.00       28,253.50
                                                                                        5,695.00          6.70                     850.00         605.00        4,053.50
                                                                                          633.50          0.70                     905.00         605.00          423.50
Elizabeth S Dalmut     Associate        Litigation - General               2013       165,060.00        366.80            2        450.00         450.00      165,060.00



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                                                                                                                                                             Application
                                                                                       Fees          Hours                                                     at First
                                                                                       Billed        Billed         Number                    In the First     Interim
                                                                           Date of      In this       In this       of Rate      In this        Interim      Application
       Attorney Name          Position              Department            Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                       296,348.00         569.90                     520.00         450.00     256,455.00
                                                                                        22,422.00         40.40                     555.00         450.00       18,180.00
Haley Darling            Associate        Litigation - General              2014        65,328.00        136.10            1        480.00         480.00       65,328.00
                                                                                        30,913.50         55.70                     555.00         480.00       26,736.00
Alexander Davis          Associate        Litigation - General              2012       194,272.00        373.60            4        520.00         520.00      194,272.00
                                                                                       581,850.50        977.90                     595.00         520.00      508,508.00
                                                                                       478,536.00        753.60                     635.00         520.00      391,872.00
                                                                                       433,313.00        610.30                     710.00         520.00      317,356.00
                                                                                        21,291.00         28.20                     755.00         520.00       14,664.00
Bridget Deiters          Associate        Corporate - Capital Markets       2012        14,570.50         16.10          N/A        905.00         905.00       14,570.50
Jarrel O DeLottinville   Associate        Corporate - Capital Markets       2012           775.00          1.00            1        775.00         775.00         775.00
                                                                                           340.00          0.40                     850.00         775.00         310.00
George Desh              Associate        IP Litigation                     2011        19,218.50         28.90            2        665.00         665.00       19,218.50
                                                                                        96,844.00        136.40                     710.00         665.00       90,706.00
                                                                                        60,173.50         79.70                     755.00         665.00       53,000.50
Tyler J Dunphy           Associate        Corporate - General               2017        22,770.00         39.60          N/A        575.00         575.00       22,770.00
Joseph F Edell           Associate        IP Litigation                     2009        44,801.00         63.10            1        710.00         710.00       44,801.00
                                                                                        74,216.50         98.30                     755.00         710.00       69,793.00
Jason Fitterer           Associate        IP Litigation                     2012        31,951.50         53.70            2        595.00         595.00       31,951.50
                                                                                       111,315.50        175.30                     635.00         595.00      104,303.50
                                                                                        74,834.00        105.40                     710.00         595.00       62,713.00
Noah S Frank             Associate        IP Litigation                     2013         8,658.00         15.60          N/A        555.00         555.00        8,658.00
Jessica Fricke           Associate        Litigation - General              2012        21,717.50         36.50          N/A        595.00         595.00       21,717.50
Arjun Garg               Associate        Litigation - General              2008        35,325.00         47.10            1        750.00         750.00       35,325.00
                                                                                        46,810.00         60.40                     775.00         750.00       45,300.00
Michael Gawley           Associate        Litigation - General              2013        21,960.00         48.80            2        450.00         450.00       21,960.00



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                                                                                            Fees          Hours                                                     at First
                                                                                            Billed        Billed         Number                    In the First     Interim
                                                                              Date of        In this       In this       of Rate      In this        Interim      Application
       Attorney Name              Position               Department          Admission     Application   Application    Increases   Application    Application    Billing Rate
                                                                                            168,116.00         323.30                     520.00         450.00     145,485.00
                                                                                             80,253.00        144.60                     555.00         450.00       65,070.00
Mohsen Ghazi                 Associate        Taxation                         2017           1,120.00          2.00          N/A        560.00         560.00        1,120.00
Phil Giglio                  Associate        Corporate - Investment Funds     2014             208.50          0.30          N/A        695.00         695.00         208.50
Matthew Goldberger           Associate        Restructuring                    2014          17,775.00         39.50            1        450.00         450.00       17,775.00
                                                                                             13,963.50         26.10                     535.00         450.00       11,745.00
Rachel E Goldstein           Associate        Litigation - General             2012           5,057.50          8.50            1        595.00         595.00        5,057.50
                                                                                             57,988.00         87.20                     665.00         595.00       51,884.00
Jason Gott                   Associate        Restructuring                    2012          63,241.50         95.10            2        665.00         665.00       63,241.50
                                                                                            311,637.00        426.90                     730.00         665.00      283,888.50
                                                                                                542.50          0.70                     775.00         665.00         465.50
Andrew W Grindrod            Associate        Litigation - General             2012         147,500.50        247.90          N/A        595.00         595.00      147,500.50
Ryan Guerrero                Associate        Corporate - Capital Markets      2013          21,552.00         44.90            1        480.00         480.00       21,552.00
                                                                                             26,108.00         48.80                     535.00         480.00       23,424.00
Michele E Gutrick            Associate        Litigation - General             2008         163,500.00        218.00            1        750.00         750.00      163,500.00
                                                                                            229,477.50        296.10                     775.00         750.00      222,075.00
Haris Hadzimuratovic         Associate        Litigation - General             2008         334,907.00        471.70            1        710.00         710.00      334,907.00
                                                                                             79,048.50        104.70                     755.00         710.00       74,337.00
Beatrice Hahn                Associate        IP Litigation                    2013          93,653.00        157.40            1        595.00         595.00       93,653.00
                                                                                            161,798.00        254.80                     635.00         595.00      151,606.00
Sean Hamner                  Associate        Taxation                         2016          16,968.00         30.30          N/A        560.00         560.00       16,968.00
Cole W Harlan                Associate        Restructuring                   Pending        11,845.00         20.60          N/A        575.00         575.00       11,845.00
Elliot C Harvey Schatmeier   Associate        Litigation - General             2014          14,040.00         27.00            1        520.00         520.00       14,040.00
                                                                                             31,302.00         56.40                     555.00         520.00       29,328.00
Nicholas Hemmingsen          Associate        Corporate - Investment Funds     2013           7,750.00         10.00            1        775.00         775.00        7,750.00
                                                                                              4,590.00          5.40                     850.00         775.00        4,185.00



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                                                                                                                                                            Application
                                                                                      Fees          Hours                                                     at First
                                                                                      Billed        Billed         Number                    In the First     Interim
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       Attorney Name        Position               Department            Admission   Application   Application    Increases   Application    Application    Billing Rate
Shayne Henry           Associate        Litigation - General               2014        20,257.50          36.50           1         555.00         555.00       20,257.50
                                                                                       33,637.50         57.50                     585.00         555.00       31,912.50
Sean F Hilson          Associate        Corporate - Debt Finance           2013        45,045.00        100.10            3        450.00         450.00       45,045.00
                                                                                      206,028.50        385.10                     535.00         450.00      173,295.00
                                                                                       10,944.00         19.20                     570.00         450.00        8,640.00
                                                                                          332.50          0.50                     665.00         450.00          225.00
Munsoor Hussain        Associate        Taxation                           2008        45,340.50         54.30            1        835.00         835.00       45,340.50
                                                                                        8,909.50         10.30                     865.00         835.00        8,600.50
Natasha Hwangpo        Associate        Restructuring                      2014           579.00          1.40            9        413.57         413.57          579.00
                                                                                      328,275.00        729.50                     450.00         413.57      301,699.32
                                                                                      616,320.00      1,152.00                     535.00         413.57      476,432.64
                                                                                      423,054.00        742.20                     570.00         413.57      306,951.65
                                                                                      544,901.00        819.40                     665.00         413.57      338,879.26
                                                                                      588,665.00        847.00                     695.00         413.57      350,293.79
                                                                                      179,634.00        230.30                     780.00         413.57       95,245.17
                                                                                       55,110.00         66.00                     835.00         413.57       27,295.62
                                                                                       44,526.00         49.20                     905.00         413.57       20,347.64
                                                                                        9,120.00          9.60                     950.00         413.57        3,970.27
Samuel Ikard           Associate        Litigation - General               2014        18,895.50         32.30          N/A        585.00         585.00       18,895.50
Ashley G James         Associate        Labor & Employment                 2010         3,124.00          4.40            1        710.00         710.00        3,124.00
                                                                                        6,040.00          8.00                     755.00         710.00        5,680.00
Miles Johnson          Associate        Taxation                           2015         1,435.50          2.90            1        495.00         495.00        1,435.50
                                                                                        2,887.50          5.50                     525.00         495.00        2,722.50
Jacob Johnston         Associate        Litigation - General               2013        73,914.50         97.90            1        755.00         755.00       73,914.50
                                                                                       33,946.50         42.70                     795.00         755.00       32,238.50
Mike Jones             Associate        Restructuring                      2011        31,852.50         46.50          N/A        685.00         685.00       31,852.50



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                                                                                      Fees          Hours                                                     at First
                                                                                      Billed        Billed         Number                    In the First     Interim
                                                                          Date of      In this       In this       of Rate      In this        Interim      Application
       Attorney Name        Position               Department            Admission   Application   Application    Increases   Application    Application    Billing Rate
Vinu Joseph            Associate        Litigation - General               2013       178,464.00         343.20           3         520.00         520.00     178,464.00
                                                                                      154,401.00        278.20                     555.00         520.00      144,664.00
                                                                                       40,068.50         63.10                     635.00         520.00       32,812.00
                                                                                       16,402.50         24.30                     675.00         520.00       12,636.00
Lina Kaisey            Associate        Corporate - Debt Finance           2015       160,920.00        357.60            3        450.00         450.00      160,920.00
                                                                                      380,976.00        793.70                     480.00         450.00      357,165.00
                                                                                      607,107.00      1,065.10                     570.00         450.00      479,295.00
                                                                                      162,866.00        269.20                     605.00         450.00      121,140.00
Lauren R Kanzer        Associate        Restructuring                      2014        46,812.50         87.50          N/A        535.00         535.00       46,812.50
Michael Keeley         Associate        Corporate - Capital Markets        2012        11,024.00         21.20          N/A        520.00         520.00       11,024.00
Jared Kelly            Associate        Corporate - Capital Markets        2013           864.50          1.30          N/A        665.00         665.00         864.50
Joon Kim               Associate        Corporate - Investment Funds       2012           297.50          0.50          N/A        595.00         595.00         297.50
Austin Klar            Associate        Litigation - General               2013         9,225.00         20.50            7        450.00         450.00        9,225.00
                                                                                       91,052.00        175.10                     520.00         450.00       78,795.00
                                                                                      153,901.50        277.30                     555.00         450.00      124,785.00
                                                                                      150,495.00        237.00                     635.00         450.00      106,650.00
                                                                                      251,302.50        372.30                     675.00         450.00      167,535.00
                                                                                       14,060.00         18.50                     760.00         450.00        8,325.00
                                                                                      162,071.00        191.80                     845.00         450.00       86,310.00
                                                                                        1,062.00          1.20                     885.00         450.00         540.00
Demetre Klebaner       Associate        Taxation                           2016         8,242.50         15.70          N/A        525.00         525.00        8,242.50
Lucas J Kline          Associate        Litigation - General               2009       527,850.00        703.80            2        750.00         750.00      527,850.00
                                                                                      707,152.50        889.50                     795.00         750.00      667,125.00
                                                                                      226,050.00        274.00                     825.00         750.00      205,500.00
Max Klupchak           Associate        Corporate - M&A/Private Equity     2011        52,019.50         68.90            1        755.00         755.00       52,019.50
                                                                                      530,821.50        667.70                     795.00         755.00      504,113.50



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                                                                                                                            Hourly Rate Billed           Fees Billed

                                                                                                                                                            In this
                                                                                                                                                         Application
                                                                                   Fees          Hours                                                     at First
                                                                                   Billed        Billed         Number                    In the First     Interim
                                                                       Date of      In this       In this       of Rate      In this        Interim      Application
       Attorney Name        Position               Department         Admission   Application   Application    Increases   Application    Application    Billing Rate
Christopher Kochman    Associate        Restructuring                   2015        65,268.00         117.60           2         555.00         555.00       65,268.00
                                                                                    49,084.50         76.10                     645.00         555.00       42,235.50
                                                                                     1,282.50          1.90                     675.00         555.00        1,054.50
Serafima Krikunova     Associate        Litigation - General            2012        39,405.00         55.50            1        710.00         710.00       39,405.00
                                                                                    26,425.00         35.00                     755.00         710.00       24,850.00
Sam Kwon               Associate        IP Litigation                   2013        40,876.50         68.70            1        595.00         595.00       40,876.50
                                                                                   147,129.50        231.70                     635.00         595.00      137,861.50
Nick Laird             Associate        Litigation - General            2013       178,932.00        344.10            3        520.00         520.00      178,932.00
                                                                                   124,486.50        224.30                     555.00         520.00      116,636.00
                                                                                   353,631.50        556.90                     635.00         520.00      289,588.00
                                                                                    20,587.50         30.50                     675.00         520.00       15,860.00
Christine Lehman       Associate        Taxation                        2014       110,137.50        222.50            1        495.00         495.00      110,137.50
                                                                                    31,944.00         52.80                     605.00         495.00       26,136.00
Teresa Lii             Associate        Restructuring                   2014       185,355.00        411.90            3        450.00         450.00      185,355.00
                                                                                   480,376.50        897.90                     535.00         450.00      404,055.00
                                                                                   505,989.00        887.70                     570.00         450.00      399,465.00
                                                                                   338,618.00        509.20                     665.00         450.00      229,140.00
Juan P Lopez           Associate        Corporate - General             2016         3,940.50          7.10          N/A        555.00         555.00        3,940.50
Caleb Lowery           Associate        Corporate - General             2016         3,150.00          6.00            1        525.00         525.00        3,150.00
                                                                                       721.50          1.30                     555.00         525.00          682.50
Melanie MacKay         Associate        Litigation - General            2010       209,663.00        295.30          N/A        710.00         710.00      209,663.00
Christopher J Maner    Associate        Litigation - General            2012       182,665.00        307.00            1        595.00         595.00      182,665.00
                                                                                    34,353.50         54.10                     635.00         595.00       32,189.50
Kevin McClelland       Associate        Restructuring                   2016        97,807.50        186.30            3        525.00         525.00       97,807.50
                                                                                   143,911.50        259.30                     555.00         525.00      136,132.50
                                                                                    32,572.50         50.50                     645.00         525.00       26,512.50



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                                                                                                                                                            Application
                                                                                      Fees          Hours                                                     at First
                                                                                      Billed        Billed         Number                    In the First     Interim
                                                                          Date of      In this       In this       of Rate      In this        Interim      Application
       Attorney Name          Position             Department            Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                        4,522.50           6.70                     675.00         525.00        3,517.50
Allison McDonald         Associate        Litigation - General             2013        30,680.00         59.00            1        520.00         520.00       30,680.00
                                                                                       54,945.00         99.00                     555.00         520.00       51,480.00
James C Melchers         Associate        Corporate - General              2012       252,841.00        363.80          N/A        695.00         695.00      252,841.00
Mark D Menzies           Associate        Litigation - General             2014       168,142.50        249.10            2        675.00         675.00      168,142.50
                                                                                      253,612.00        333.70                     760.00         675.00      225,247.50
                                                                                      200,232.00        247.20                     810.00         675.00      166,860.00
Eric Merin               Associate        Litigation - General             2014       142,584.00        274.20            2        520.00         520.00      142,584.00
                                                                                       84,027.00        151.40                     555.00         520.00       78,728.00
                                                                                       41,783.00         65.80                     635.00         520.00       34,216.00
Sophie Milrom            Associate        Restructuring                    2014         1,404.00          2.70          N/A        520.00         520.00        1,404.00
Timothy Mohan            Associate        Restructuring                    2014       124,785.00        277.30            3        450.00         450.00      124,785.00
                                                                                      377,870.50        706.30                     535.00         450.00      317,835.00
                                                                                      279,870.00        491.00                     570.00         450.00      220,950.00
                                                                                      559,464.50        841.30                     665.00         450.00      378,585.00
Kristen Molloy           Associate        Corporate - General              2015       180,132.00        353.20            1        510.00         510.00      180,132.00
                                                                                      148,352.00        243.20                     610.00         510.00      124,032.00
Roxana Mondragon-Motta   Associate        Litigation - General             2011       148,627.50        223.50            1        665.00         665.00      148,627.50
                                                                                       88,608.00        124.80                     710.00         665.00       82,992.00
David Moore              Associate        Corporate - General              2015         2,304.00          4.80            5        480.00         480.00        2,304.00
                                                                                      137,241.00        269.10                     510.00         480.00      129,168.00
                                                                                       22,082.00         36.20                     610.00         480.00       17,376.00
                                                                                       26,832.00         41.60                     645.00         480.00       19,968.00
                                                                                       87,391.50        118.90                     735.00         480.00       57,072.00
                                                                                       84,623.00        109.90                     770.00         480.00       52,752.00
Jennie L Morawetz        Associate        Environment - Transactional      2013         2,337.00          4.10            1        570.00         570.00        2,337.00



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                                                                                                                                                           Application
                                                                                     Fees          Hours                                                     at First
                                                                                     Billed        Billed         Number                    In the First     Interim
                                                                         Date of      In this       In this       of Rate      In this        Interim      Application
        Attorney Name        Position               Department          Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                       1,875.50           3.10                     605.00         570.00        1,767.00
Madelyn Morris          Associate        Litigation - General             2014        12,195.00         27.10            1        450.00         450.00       12,195.00
                                                                                      40,944.00         85.30                     480.00         450.00       38,385.00
Jaran R Moten           Associate        Litigation - General             2013        37,024.00         71.20          N/A        520.00         520.00       37,024.00
Maryam F Mujahid        Associate        Environment - Transactional      2012         1,562.50          2.50          N/A        625.00         625.00        1,562.50
Michael Muna            Associate        Corporate - General              2013        33,975.00         75.50            1        450.00         450.00       33,975.00
                                                                                      43,680.00         91.00                     480.00         450.00       40,950.00
Brett Murray            Associate        Restructuring                    2013       283,972.00        546.10            2        520.00         520.00      283,972.00
                                                                                     635,750.00      1,017.20                     625.00         520.00      528,944.00
                                                                                     202,958.00        305.20                     665.00         520.00      158,704.00
Aaron J Newell          Associate        Environment - Transactional      2013           969.00          1.90          N/A        510.00         510.00          969.00
Caroline Nguyen         Associate        Restructuring                    2013         1,875.00          3.00          N/A        625.00         625.00        1,875.00
Victor Noskov           Associate        Restructuring                    2013         8,875.00         14.20          N/A        625.00         625.00        8,875.00
Julia Onorato           Associate        Executive Compensation           2014         2,061.50          3.10          N/A        665.00         665.00        2,061.50
Patrick Park            Associate        IP Litigation                    2014        61,110.00        135.80            1        450.00         450.00       61,110.00
                                                                                      88,512.00        184.40                     480.00         450.00       82,980.00
Jessica Peet            Associate        Restructuring                    2014       117,104.00        225.20            2        520.00         520.00      117,104.00
                                                                                      50,687.50         81.10                     625.00         520.00       42,172.00
                                                                                       4,189.50          6.30                     665.00         520.00        3,276.00
Jonah Peppiatt          Associate        Restructuring                    2015       162,960.00        339.50            2        480.00         480.00      162,960.00
                                                                                     245,939.50        459.70                     535.00         480.00      220,656.00
                                                                                     317,946.00        557.80                     570.00         480.00      267,744.00
Jessica Pettit          Associate        Litigation - General             2014        73,710.00        163.80            1        450.00         450.00       73,710.00
                                                                                      62,712.00        120.60                     520.00         450.00       54,270.00
Erin Ramamurthy         Associate        Litigation - General             2014        24,921.00         42.60          N/A        585.00         585.00       24,921.00
Vivek Ratnam            Associate        Taxation                         2015         1,900.00          4.00          N/A        475.00         475.00        1,900.00



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                                                                                    Fees          Hours                                                     at First
                                                                                    Billed        Billed         Number                    In the First     Interim
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Julie Rhoades          Associate        Taxation                         2012        12,083.50          14.30         N/A         845.00         845.00       12,083.50
C Harker Rhodes, IV    Associate        Litigation - Appellate           2014        26,314.50         33.10          N/A        795.00         795.00       26,314.50
Carleigh T Rodriguez   Associate        Environment - Transactional      2013         8,685.00         19.30            6        450.00         450.00        8,685.00
                                                                                     53,928.00        100.80                     535.00         450.00       45,360.00
                                                                                     54,720.00         96.00                     570.00         450.00       43,200.00
                                                                                     39,035.50         58.70                     665.00         450.00       26,415.00
                                                                                      2,641.00          3.80                     695.00         450.00        1,710.00
                                                                                        156.00          0.20                     780.00         450.00           90.00
                                                                                        584.50          0.70                     835.00         450.00          315.00
Jeremy Roux            Associate        IP Litigation                    2014        13,545.00         30.10            2        450.00         450.00       13,545.00
                                                                                     76,896.00        160.20                     480.00         450.00       72,090.00
                                                                                     34,354.50         61.90                     555.00         450.00       27,855.00
Daniel Rudewicz        Associate        Restructuring                    2016        36,000.00         75.00            5        480.00         480.00       36,000.00
                                                                                     50,490.00         99.00                     510.00         480.00       47,520.00
                                                                                     18,056.00         29.60                     610.00         480.00       14,208.00
                                                                                     37,797.00         58.60                     645.00         480.00       28,128.00
                                                                                     39,322.50         53.50                     735.00         480.00       25,680.00
                                                                                      3,003.00          3.90                     770.00         480.00        1,872.00
Mark Salomon           Associate        Litigation - General             2015        18,945.00         42.10            1        450.00         450.00       18,945.00
                                                                                     38,544.00         80.30                     480.00         450.00       36,135.00
Benjamin D Sandahl     Associate        Litigation - General             2009        26,775.00         35.70          N/A        750.00         750.00       26,775.00
Michael Saretsky       Associate        Environment - Transactional      2015         3,375.00          7.50            3        450.00         450.00        3,375.00
                                                                                      2,160.00          4.50                     480.00         450.00        2,025.00
                                                                                      4,674.00          8.20                     570.00         450.00        3,690.00
                                                                                        121.00          0.20                     605.00         450.00           90.00
Max Schlan             Associate        Restructuring                    2012       285,220.00        548.50            3        520.00         520.00      285,220.00



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                                                                                      Fees          Hours                                                    at First
                                                                                      Billed        Billed        Number                    In the First     Interim
                                                                          Date of      In this       In this      of Rate      In this        Interim      Application
       Attorney Name        Position               Department            Admission   Application   Application   Increases   Application    Application    Billing Rate
                                                                                      811,375.00      1,298.20                     625.00         520.00     675,064.00
                                                                                      774,459.00      1,164.60                    665.00         520.00      605,592.00
                                                                                       44,895.00         61.50                    730.00         520.00       31,980.00
Mark F Schottinger     Associate        Litigation - General               2012       365,865.50        614.90           2        595.00         595.00      365,865.50
                                                                                      127,698.50        201.10                    635.00         595.00      119,654.50
                                                                                       72,775.00        102.50                    710.00         595.00       60,987.50
Reed Schuster          Associate        Corporate - Investment Funds       2014         5,212.50          7.50         N/A        695.00         695.00        5,212.50
Alexander Schwartz     Associate        Corporate - Capital Markets        2013         2,327.50          3.50         N/A        665.00         665.00        2,327.50
Christina Sharkey      Associate        Litigation - General               2014        14,940.00         33.20           1        450.00         450.00       14,940.00
                                                                                       97,008.00        202.10                    480.00         450.00       90,945.00
Stephanie Shropshire   Associate        Litigation - General               2014       166,400.00        320.00           2        520.00         520.00      166,400.00
                                                                                       96,403.50        173.70                    555.00         520.00       90,324.00
                                                                                       35,877.50         56.50                    635.00         520.00       29,380.00
Ellen Sise             Associate        Litigation - General               2015        14,265.00         31.70           1        450.00         450.00       14,265.00
                                                                                       34,560.00         72.00                    480.00         450.00       32,400.00
Daniel Sito            Associate        Taxation                           2015        13,315.50         26.90           2        495.00         495.00       13,315.50
                                                                                        4,987.50          9.50                    525.00         495.00        4,702.50
                                                                                        6,016.00          9.40                    640.00         495.00        4,653.00
Aaron Slavutin         Associate        Restructuring                      2011       275,548.00        529.90           2        520.00         520.00      275,548.00
                                                                                      685,750.00      1,097.20                    625.00         520.00      570,544.00
                                                                                      282,226.00        424.40                    665.00         520.00      220,688.00
Matthew Smart          Associate        Restructuring                      2016        55,965.00        106.60           3        525.00         525.00       55,965.00
                                                                                       99,844.50        179.90                    555.00         525.00       94,447.50
                                                                                       12,577.50         19.50                    645.00         525.00       10,237.50
                                                                                        1,552.50          2.30                    675.00         525.00        1,207.50
David A Snyder         Associate        Corporate - M&A/Private Equity     2011        32,875.00         52.60         N/A        625.00         625.00       32,875.00



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                                                                                      Fees           Hours                                                     at First
                                                                                      Billed         Billed         Number                    In the First     Interim
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John Song              Associate        Litigation - General               2015            225.00           0.50         N/A         450.00         450.00          225.00
Justin Sowa            Associate        Litigation - General               2013       291,788.00         490.40            7        595.00         595.00      291,788.00
                                                                                      312,356.50         491.90                     635.00         595.00      292,680.50
                                                                                      715,751.00       1,008.10                     710.00         595.00      599,819.50
                                                                                      951,073.50       1,259.70                     755.00         595.00      749,521.50
                                                                                      478,987.50         602.50                     795.00         595.00      358,487.50
                                                                                      379,320.50         448.90                     845.00         595.00      267,095.50
                                                                                      445,893.50         492.70                     905.00         595.00      293,156.50
                                                                                      136,515.00         143.70                     950.00         595.00       85,501.50
Gregory Springsted     Associate        IP Litigation                      2015         7,536.00          15.70          N/A        480.00         480.00        7,536.00
Ben Steadman           Associate        Corporate - Debt Finance           2015       151,425.00         336.50            1        450.00         450.00      151,425.00
                                                                                      286,800.00         597.50                     480.00         450.00      268,875.00
Adam Stern             Associate        Litigation - General               2013        79,121.00         124.60            2        635.00         635.00       79,121.00
                                                                                      163,371.00         230.10                     710.00         635.00      146,113.50
                                                                                       17,893.50          23.70                     755.00         635.00       15,049.50
Sarah Stock            Associate        Litigation - General               2013        15,975.00          35.50            3        450.00         450.00       15,975.00
                                                                                      110,812.00         213.10                     520.00         450.00       95,895.00
                                                                                      100,011.00         180.20                     555.00         450.00       81,090.00
                                                                                      163,703.00         257.80                     635.00         450.00      116,010.00
Thayne Stoddard        Associate        Litigation - General               2015        11,160.00          24.80            2        450.00         450.00       11,160.00
                                                                                       24,480.00          51.00                     480.00         450.00       22,950.00
                                                                                          111.00           0.20                     555.00         450.00           90.00
Pierson Stoecklein     Associate        Corporate - General                2011        50,062.50          80.10          N/A        625.00         625.00       50,062.50
Alexandra Strang       Associate        Litigation - General               2014        17,505.00          38.90            1        450.00         450.00       17,505.00
                                                                                       40,896.00          85.20                     480.00         450.00       38,340.00
Jessica Subler         Associate        Corporate - Debt Finance           2014         4,860.00          10.80            2        450.00         450.00        4,860.00



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                                                                                        Fees          Hours                                                     at First
                                                                                        Billed        Billed         Number                    In the First     Interim
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                                                                                          1,444.50           2.70                     535.00         450.00        1,215.00
                                                                                          1,197.00          2.10                     570.00         450.00          945.00
Stella Tang            Associate        Corporate - General                2015          20,124.00         31.20          N/A        645.00         645.00       20,124.00
Nacif Taousse          Associate        Restructuring                     Pending        69,819.00        125.80            1        555.00         555.00       69,819.00
                                                                                         23,057.50         40.10                     575.00         555.00       22,255.50
Nathan Taylor          Associate        Litigation - General               2015          17,010.00         37.80            2        450.00         450.00       17,010.00
                                                                                         33,312.00         69.40                     480.00         450.00       31,230.00
                                                                                         29,082.00         52.40                     555.00         450.00       23,580.00
Adam Teitcher          Associate        Litigation - General               2013         430,482.50        723.50            2        595.00         595.00      430,482.50
                                                                                        231,267.00        364.20                     635.00         595.00      216,699.00
                                                                                        197,664.00        278.40                     710.00         595.00      165,648.00
Anna Terteryan         Associate        Litigation - General               2014          75,690.00        168.20            7        450.00         450.00       75,690.00
                                                                                        349,824.00        728.80                     480.00         450.00      327,960.00
                                                                                        644,299.50      1,160.90                     555.00         450.00      522,405.00
                                                                                        795,015.00      1,359.00                     585.00         450.00      611,550.00
                                                                                        519,656.00        764.20                     680.00         450.00      343,890.00
                                                                                        363,660.00        501.60                     725.00         450.00      225,720.00
                                                                                        386,856.00        477.60                     810.00         450.00      214,920.00
                                                                                        122,145.00        143.70                     850.00         450.00       64,665.00
Sharad Thaper          Associate        Restructuring                      2017          10,191.00         15.80          N/A        645.00         645.00       10,191.00
Stephanie S Thibault   Associate        Litigation - General               2009         318,075.00        424.10            1        750.00         750.00      318,075.00
                                                                                          3,657.00          4.60                     795.00         750.00        3,450.00
David Thompson         Associate        Corporate - M&A/Private Equity     2013          24,930.00         55.40            4        450.00         450.00       24,930.00
                                                                                          2,160.00          4.50                     480.00         450.00        2,025.00
                                                                                         21,459.50         25.70                     835.00         450.00       11,565.00
                                                                                        118,826.50        131.30                     905.00         450.00       59,085.00



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                                                                                       10,355.00          10.90                     950.00         450.00        4,905.00
McClain Thompson       Associate        Litigation - General               2014       151,563.00        265.90            6        570.00         570.00      151,563.00
                                                                                      287,094.00        486.60                     590.00         570.00      277,362.00
                                                                                      318,835.00        527.00                     605.00         570.00      300,390.00
                                                                                      309,141.00        490.70                     630.00         570.00      279,699.00
                                                                                      157,904.00        227.20                     695.00         570.00      129,504.00
                                                                                      551,072.50        760.10                     725.00         570.00      433,257.00
                                                                                      101,536.00        133.60                     760.00         570.00       76,152.00
Jean Tinkham           Associate        Litigation - General               2013        24,908.00         47.90          N/A        520.00         520.00       24,908.00
Steven Torrez          Associate        Restructuring                      2014       184,005.00        408.90            2        450.00         450.00      184,005.00
                                                                                      274,896.00        572.70                     480.00         450.00      257,715.00
                                                                                      379,620.00        666.00                     570.00         450.00      299,700.00
Holly R Trogdon        Associate        Litigation - General               2014       637,695.00      1,417.10            3        450.00         450.00      637,695.00
                                                                                      471,216.00        981.70                     480.00         450.00      441,765.00
                                                                                      436,119.00        785.80                     555.00         450.00      353,610.00
                                                                                       14,098.50         24.10                     585.00         450.00       10,845.00
Kathleen P Turner      Associate        Corporate - General                2014        13,008.00         27.10          N/A        480.00         480.00       13,008.00
Bryan Uelk             Associate        Restructuring                      2014         4,743.00          9.30          N/A        510.00         510.00        4,743.00
Patrick Venter         Associate        Restructuring                      2016       120,435.00        229.40            3        525.00         525.00      120,435.00
                                                                                      381,174.00        686.80                     555.00         525.00      360,570.00
                                                                                      268,449.00        416.20                     645.00         525.00      218,505.00
                                                                                      144,990.00        214.80                     675.00         525.00      112,770.00
Andrew D Walker        Associate        Corporate - M&A/Private Equity     2014        15,504.00         27.20            1        570.00         570.00       15,504.00
                                                                                       25,773.00         42.60                     605.00         570.00       24,282.00
Jesse T Wallin         Associate        Corporate - M&A/Private Equity     2014        65,400.50        108.10          N/A        605.00         605.00       65,400.50
Neil E Walther         Associate        Restructuring                      2010        87,115.00        131.00          N/A        665.00         665.00       87,115.00



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                                                                                                                                  Hourly Rate Billed           Fees Billed

                                                                                                                                                                  In this
                                                                                                                                                               Application
                                                                                         Fees          Hours                                                     at First
                                                                                         Billed        Billed         Number                    In the First     Interim
                                                                             Date of      In this       In this       of Rate      In this        Interim      Application
       Attorney Name           Position              Department             Admission   Application   Application    Increases   Application    Application    Billing Rate
Jenna Ward                Associate        Restructuring                      2013        16,050.00          30.00         N/A         535.00         535.00       16,050.00
Kyle M Watson             Associate        Corporate - M&A/Private Equity     2013         2,261.00          3.40          N/A        665.00         665.00        2,261.00
Meg A Webb                Associate        Litigation - General               2017         2,990.00          5.20          N/A        575.00         575.00        2,990.00
Andrea Weintraub          Associate        Corporate - Debt Finance           2013        71,396.00        137.30          N/A        520.00         520.00       71,396.00
Andrew J Welz             Associate        Litigation - General               2011       620,469.00             2          N/A        710.00         710.00      620,469.00
                                                                                         504,642.00                        N/A        755.00         710.00      474,564.00
                                                                                             954.00                        N/A        795.00         710.00          852.00
Nicolas Wenker            Associate        Corporate - General                2015           480.00          1.00          N/A        480.00         480.00          480.00
Jason Whiteley            Associate        Corporate - M&A/Private Equity     2010       177,603.00        223.40            2        795.00         795.00      177,603.00
                                                                                         722,475.00        855.00                     845.00         795.00      679,725.00
                                                                                         278,076.50        310.70                     895.00         795.00      247,006.50
Charles D Wineland, III   Associate        IP Litigation                      2013        75,972.00        146.10            3        520.00         520.00       75,972.00
                                                                                         257,853.00        464.60                     555.00         520.00      241,592.00
                                                                                          86,487.00        136.20                     635.00         520.00       70,824.00
                                                                                          34,627.50         51.30                     675.00         520.00       26,676.00
Sara Winik                Associate        Litigation - General               2014         7,875.00         17.50            1        450.00         450.00        7,875.00
                                                                                          29,472.00         61.40                     480.00         450.00       27,630.00
Spencer A Winters         Associate        Restructuring                      2013       294,840.00        655.20            6        450.00         450.00      294,840.00
                                                                                         626,378.00      1,170.80                     535.00         450.00      526,860.00
                                                                                         834,594.00      1,464.20                     570.00         450.00      658,890.00
                                                                                         933,394.00      1,403.60                     665.00         450.00      631,620.00
                                                                                         124,961.00        179.80                     695.00         450.00       80,910.00
                                                                                          36,972.00         47.40                     780.00         450.00       21,330.00
                                                                                          21,376.00         25.60                     835.00         450.00       11,520.00
Eric P Yeager             Associate        Litigation - General               2013         5,928.00         11.40          N/A        520.00         520.00        5,928.00
Aparna Yenamandra         Associate        Restructuring                      2013       301,496.00        579.80            8        520.00         520.00      301,496.00



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                                                                                                                             Hourly Rate Billed           Fees Billed

                                                                                                                                                             In this
                                                                                                                                                          Application
                                                                                     Fees          Hours                                                    at First
                                                                                     Billed        Billed        Number                    In the First     Interim
                                                                        Date of      In this        In this      of Rate      In this        Interim      Application
      Attorney Name        Position             Department             Admission   Application    Application   Increases   Application    Application    Billing Rate
                                                                                    712,187.50       1,139.50                     625.00         520.00     592,540.00
                                                                                    851,931.50       1,281.10                    665.00         520.00      666,172.00
                                                                                    872,788.00       1,195.60                    730.00         520.00      621,712.00
                                                                                    631,237.50         814.50                    775.00         520.00      423,540.00
                                                                                    638,860.00         751.60                    850.00         520.00      390,832.00
                                                                                   1,016,496.00      1,123.20                    905.00         520.00      584,064.00
                                                                                    696,004.00         728.80                    955.00         520.00      378,976.00
                                                                                    395,711.50         397.70                    995.00         520.00      206,804.00
Cassie Zhang          Associate        Corporate - Capital Markets       2012        21,063.00          35.40         N/A        595.00         595.00       21,063.00




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                                                   Summary, by Individual Timekeeper, of Total
                                               Fees Incurred and Hours Billed During the Fee Period

                                                                                                                                                                   Fees
                                                                                                                                    Hourly Rate Billed             Billed

                                                                                                                                                                    In this
                                                                                                                                                                 Application
                                                                                           Fees          Hours                                                     at First
                                                                                           Billed        Billed         Number                    In the First     Interim
      Paraprofessional                                                        Date of      In this        In this       of Rate      In this        Interim      Application
           Name                  Position            Department              Admission   Application    Application    Increases   Application    Application    Billing Rate
Anthony C Abate            Paralegal        Restructuring                       N/A            132.00           0.60         N/A         220.00         220.00          132.00
Deana Baglanzis            Paralegal        Corporate - General                 N/A           270.00           0.90          N/A        300.00         300.00          270.00
Ashley Britton             Paralegal        Litigation - Appellate              N/A         1,190.00           3.50          N/A        340.00         340.00        1,190.00
Elizabeth Burns            Paralegal        Corporate - Debt Finance            N/A         3,282.50          10.10            3        325.00         325.00        3,282.50
                                                                                           56,484.00         156.90                     360.00         325.00      50,992.50
                                                                                            8,892.00          22.80                     390.00         325.00        7,410.00
                                                                                              410.00           1.00                     410.00         325.00          325.00
Jim Castro                 Paralegal        Corporate - General                 N/A         1,802.00           6.80          N/A        265.00         265.00        1,802.00
Eric M Dellon              Paralegal        Litigation - General                N/A         7,476.00          26.70          N/A        280.00         280.00        7,476.00
Stephanie Ding             Paralegal        Litigation - General                N/A        94,789.50         486.10            4        195.00         195.00      94,789.50
                                                                                          189,441.00         902.10                     210.00         195.00     175,909.50
                                                                                           54,802.00         249.10                     220.00         195.00      48,574.50
                                                                                           70,868.00         253.10                     280.00         195.00      49,354.50
                                                                                           59,029.50         200.10                     295.00         195.00      39,019.50
Nathan Draper              Paralegal        Corporate - Investment Funds        N/A         2,552.00          11.60          N/A        220.00         220.00        2,552.00
Gary A Duncan              Paralegal        Litigation - General                N/A        57,540.00         205.50            2        280.00         280.00      57,540.00
                                                                                          231,930.00         773.10                     300.00         280.00     216,468.00
                                                                                           24,097.50          76.50                     315.00         280.00      21,420.00
Junelia J Edwards          Paralegal        Litigation - General                N/A         2,915.00          11.00          N/A        265.00         265.00        2,915.00
Kristen Kelly Farnsworth   Paralegal        Litigation - General                N/A         4,749.50          16.10          N/A        295.00         295.00        4,749.50
Michael S Fellner          Paralegal        Litigation - General                N/A        21,850.00          87.40            5        250.00         250.00      21,850.00
                                                                                          190,641.00         719.40                     265.00         250.00     179,850.00
                                                                                           15,708.00          56.10                     280.00         250.00      14,025.00




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                                                                                                                                                                Fees
                                                                                                                                 Hourly Rate Billed             Billed

                                                                                                                                                                 In this
                                                                                                                                                              Application
                                                                                         Fees         Hours                                                     at First
                                                                                         Billed       Billed         Number                    In the First     Interim
      Paraprofessional                                                      Date of      In this       In this       of Rate      In this        Interim      Application
           Name                Position             Department             Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                          7,781.00          25.10                     310.00         250.00        6,275.00
                                                                                         24,375.00         75.00                     325.00         250.00      18,750.00
                                                                                          3,944.00         11.60                     340.00         250.00        2,900.00
Beth Friedman            Paralegal        Restructuring                       N/A       136,355.50        384.10            3        355.00         355.00     136,355.50
                                                                                         70,110.00        184.50                     380.00         355.00      65,497.50
                                                                                         11,880.00         29.70                     400.00         355.00      10,543.50
                                                                                          5,880.00         14.00                     420.00         355.00        4,970.00
Jacob Goldfinger         Paralegal        Restructuring                       N/A       152,032.00        475.10            2        320.00         320.00     152,032.00
                                                                                        170,238.00        500.70                     340.00         320.00     160,224.00
                                                                                         21,158.00         59.60                     355.00         320.00      19,072.00
Shavone Green            Paralegal        Restructuring                       N/A        53,424.00        201.60            2        265.00         265.00      53,424.00
                                                                                         20,664.00         73.80                     280.00         265.00      19,557.00
                                                                                          7,817.50         26.50                     295.00         265.00        7,022.50
Joann Gu                 Paralegal        IP Litigation                       N/A           345.00          1.50          N/A        230.00         230.00          345.00
Lisa A Horton            Paralegal        Litigation - General                N/A       131,505.00        398.50            1        330.00         330.00     131,505.00
                                                                                         98,245.00        280.70                     350.00         330.00      92,631.00
Paul M Jones             Paralegal        Litigation - General                N/A        85,272.00        258.40            1        330.00         330.00      85,272.00
                                                                                        216,177.00        626.60                     345.00         330.00     206,778.00
Daniel Judge             Paralegal        Litigation - Appellate              N/A         1,197.00          3.80          N/A        315.00         315.00        1,197.00
Gabriel King             Paralegal        Litigation - General                N/A        10,983.00         52.30            1        210.00         210.00      10,983.00
                                                                                            364.00          1.30                     280.00         210.00          273.00
Christopher Lambert      Paralegal        Corporate - Debt Finance            N/A           690.00          2.00          N/A        345.00         345.00          690.00
Rachel Landsman          Paralegal        Litigation - Appellate              N/A           409.50          1.30          N/A        315.00         315.00          409.50
Travis J Langenkamp      Paralegal        Litigation - General                N/A       217,595.00        621.70            3        350.00         350.00     217,595.00
                                                                                        105,302.00        284.60                     370.00         350.00      99,610.00
                                                                                         73,944.00        189.60                     390.00         350.00      66,360.00
                                                                                             82.00          0.20                     410.00         350.00           70.00

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                                                                                                                                                              Fees
                                                                                                                               Hourly Rate Billed             Billed

                                                                                                                                                               In this
                                                                                                                                                            Application
                                                                                       Fees         Hours                                                     at First
                                                                                       Billed       Billed         Number                    In the First     Interim
     Paraprofessional                                                     Date of      In this       In this       of Rate      In this        Interim      Application
          Name                 Position             Department           Admission   Application   Application    Increases   Application    Application    Billing Rate
Adrienne Levin           Paralegal        Litigation - General              N/A       241,583.00         779.30           2         310.00         310.00    241,583.00
                                                                                       34,650.00        105.00                     330.00         310.00      32,550.00
                                                                                       13,468.00         36.40                     370.00         310.00      11,284.00
Maureen McCarthy         Paralegal        Restructuring                     N/A        21,087.00         63.90            2        330.00         330.00      21,087.00
                                                                                       16,485.00         47.10                     350.00         330.00      15,543.00
                                                                                          296.00          0.80                     370.00         330.00         264.00
David I Meresman         Paralegal        IP Litigation                     N/A         1,625.00          6.50          N/A        250.00         250.00       1,625.00
Jonathon P Merriman      Paralegal        Litigation - General              N/A        12,650.00         57.50            1        220.00         220.00      12,650.00
                                                                                       23,920.00        104.00                     230.00         220.00      22,880.00
Lauren Mitchell-Dawson   Paralegal        Environment - Transactional       N/A        11,797.50         36.30            1        325.00         325.00      11,797.50
                                                                                        5,244.00         15.20                     345.00         325.00       4,940.00
Bella More               Paralegal        Litigation - General              N/A         3,816.00         10.60            1        360.00         360.00       3,816.00
                                                                                       23,066.00         60.70                     380.00         360.00      21,852.00
Carrie Oppenheim         Paralegal        Restructuring                     N/A         1,044.00          3.60            3        290.00         290.00       1,044.00
                                                                                        6,138.00         19.80                     310.00         290.00       5,742.00
                                                                                          162.50          0.50                     325.00         290.00         145.00
                                                                                          304.00          0.80                     380.00         290.00         232.00
Robert Orren             Paralegal        Restructuring                     N/A       213,469.00        736.10            4        290.00         290.00     213,469.00
                                                                                      331,359.00      1,068.90                     310.00         290.00     309,981.00
                                                                                      197,275.00        607.00                     325.00         290.00     176,030.00
                                                                                      147,628.00        434.20                     340.00         290.00     125,918.00
                                                                                       20,862.00         54.90                     380.00         290.00      15,921.00
Sharon G Pace            Paralegal        Litigation - General              N/A       181,000.00        724.00            1        250.00         250.00     181,000.00
                                                                                      197,239.50        744.30                     265.00         250.00     186,075.00
Nancy J Pittman          Paralegal        Litigation - General              N/A           256.00          0.80            1        320.00         320.00         256.00
                                                                                        4,690.00         14.00                     335.00         320.00       4,480.00
Meghan Rishel            Paralegal        Litigation - General              N/A       103,175.00        412.70            5        250.00         250.00     103,175.00

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                                                                                                                                                                      Fees
                                                                                                                                       Hourly Rate Billed             Billed

                                                                                                                                                                       In this
                                                                                                                                                                    Application
                                                                                                Fees         Hours                                                    at First
                                                                                                Billed       Billed        Number                    In the First     Interim
      Paraprofessional                                                             Date of      In this       In this      of Rate      In this        Interim      Application
           Name                Position               Department                  Admission   Application   Application   Increases   Application    Application    Billing Rate
                                                                                               374,365.50      1,412.70                     265.00         250.00    353,175.00
                                                                                                30,380.00        108.50                    280.00         250.00      27,125.00
                                                                                                57,257.00        184.70                    310.00         250.00      46,175.00
                                                                                               106,015.00        326.20                    325.00         250.00      81,550.00
                                                                                                13,838.00         40.70                    340.00         250.00      10,175.00
Henry Rosas              Paralegal           Corporate - Debt Finance                N/A         1,482.00          3.90         N/A        380.00         380.00       1,482.00
Mark Ruggiero            Paralegal           Litigation - General                    N/A         2,016.00          7.20         N/A        280.00         280.00       2,016.00
Laura Saal               Paralegal           Restructuring                           N/A        32,250.00        107.50           2        300.00         300.00      32,250.00
                                                                                                27,008.00         84.40                    320.00         300.00      25,320.00
                                                                                                 1,742.00          5.20                    335.00         300.00       1,560.00
Robin F Soneson          Paralegal           Technology & IP Transactions            N/A           155.00          0.50         N/A        310.00         310.00         155.00
Kenneth J Sturek         Paralegal           Litigation - General                    N/A       266,409.00        807.30           4        330.00         330.00     266,409.00
                                                                                               177,590.00        507.40                    350.00         330.00     167,442.00
                                                                                                 1,221.00          3.30                    370.00         330.00       1,089.00
                                                                                                41,613.00        106.70                    390.00         330.00      35,211.00
                                                                                                17,425.00         42.50                    410.00         330.00      14,025.00
Charlotte M Willingham   Paralegal           Corporate - M&A/Private Equity          N/A           364.00          1.30           1        280.00         280.00         364.00
                                                                                                 1,023.00          3.30                    310.00         280.00         924.00
Catalina Benech          Junior Paralegal    Litigation - General                    N/A         5,290.00         23.00         N/A        230.00         230.00       5,290.00
Jeanette L Boykins       Junior Paralegal    Litigation - Antitrust/Competition      N/A         1,008.00          4.80         N/A        210.00         210.00       1,008.00
Daniel Czajkowski        Junior Paralegal    Litigation - Appellate                  N/A           240.00          0.80         N/A        300.00         300.00         240.00
Cristopher Djonovic      Junior Paralegal    Restructuring                           N/A           867.00          5.10         N/A        170.00         170.00         867.00
Jason Douangsanith       Junior Paralegal    Litigation - General                    N/A       146,016.00        748.80           3        195.00         195.00     146,016.00
                                                                                                35,014.00        170.80                    205.00         195.00      33,306.00
                                                                                                 5,992.00         21.40                    280.00         195.00       4,173.00
                                                                                                 2,360.00          8.00                    295.00         195.00       1,560.00
Abdulyekinni A Fasinro   Junior Paralegal    Restructuring                           N/A         8,620.00         43.10           1        200.00         200.00       8,620.00

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                                                                                                                                                                         Fees
                                                                                                                                          Hourly Rate Billed             Billed

                                                                                                                                                                          In this
                                                                                                                                                                       Application
                                                                                                  Fees         Hours                                                     at First
                                                                                                  Billed       Billed         Number                    In the First     Interim
      Paraprofessional                                                               Date of      In this       In this       of Rate      In this        Interim      Application
           Name                     Position                 Department             Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                                   1,155.00           5.50                     210.00         200.00        1,100.00
Julia Foster                  Junior Paralegal     Restructuring                       N/A           242.00          1.10          N/A        220.00         220.00          242.00
Hyunjin Kim                   Junior Paralegal     IP Litigation                       N/A         7,960.00         39.80          N/A        200.00         200.00        7,960.00
Hannah Kupsky                 Junior Paralegal     Restructuring                       N/A           630.00          3.00            2        210.00         210.00          630.00
                                                                                                   2,684.00         12.20                     220.00         210.00        2,562.00
                                                                                                     920.00          4.00                     230.00         210.00          840.00
Charles R Lex                 Junior Paralegal     Litigation - General                N/A         1,029.00          4.90          N/A        210.00         210.00        1,029.00
Gayle M Lodygowski            Junior Paralegal     Litigation - General                N/A           798.00          3.80          N/A        210.00         210.00          798.00
Meg McCarthy                  Junior Paralegal     Litigation - General                N/A        35,529.00        182.20            2        195.00         195.00      35,529.00
                                                                                                     860.00          4.00                     215.00         195.00          780.00
Theodora Misthos              Junior Paralegal     IP Litigation                       N/A         1,265.00          5.50          N/A        230.00         230.00        1,265.00
John Nedeau                   Junior Paralegal     Restructuring                       N/A        57,375.00        337.50            1        170.00         170.00      57,375.00
                                                                                                   2,952.00         16.40                     180.00         170.00        2,788.00
David Reisman                 Junior Paralegal     Corporate - General                 N/A           367.50          1.50          N/A        245.00         245.00          367.50
Samuel Schmidt                Junior Paralegal     IP Litigation                       N/A           460.00          2.30          N/A        200.00         200.00          460.00
Nisha Shah                    Junior Paralegal     Corporate - Debt Finance            N/A         9,768.00         44.40          N/A        220.00         220.00        9,768.00
Ellisa Shim                   Junior Paralegal     IP Litigation                       N/A         9,400.00         47.00          N/A        200.00         200.00        9,400.00
Katelyn B Whitfield           Junior Paralegal     IP Litigation                       N/A         1,911.00          9.80          N/A        195.00         195.00        1,911.00
McKenzie Womack               Junior Paralegal     IP Litigation                       N/A           966.00          4.20          N/A        230.00         230.00          966.00
Barbara M Siepka              Support Staff        Corporate - General                 N/A         2,772.00         12.60            1        220.00         220.00        2,772.00
                                                                                                     322.00          1.40                     230.00         220.00          308.00
Madison Clark                 Junior Paralegal     Litigation - General                N/A         4,855.50         24.90          N/A        195.00         195.00        4,855.50
Michele Cohan                 Junior Paralegal     Restructuring                       N/A        11,700.00         60.00            1        195.00         195.00      11,700.00
                                                                                                   5,313.00         25.30                     210.00         195.00        4,933.50
Natasha Nguyen                Junior Paralegal     IP Litigation                       N/A         5,128.50         26.30          N/A        195.00         195.00        5,128.50
Ned Rooney                    Junior Paralegal     Litigation - General                N/A         8,799.00         41.90          N/A        210.00         210.00        8,799.00
Lib Expert Witness Research   Support Staff        Admin Services                      N/A           690.00          2.00          N/A        345.00         345.00          690.00

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                                                                                                                                                                            Fees
                                                                                                                                             Hourly Rate Billed             Billed

                                                                                                                                                                             In this
                                                                                                                                                                          Application
                                                                                                     Fees         Hours                                                     at First
                                                                                                     Billed       Billed         Number                    In the First     Interim
      Paraprofessional                                                                  Date of      In this       In this       of Rate      In this        Interim      Application
           Name                    Position                Department                  Admission   Application   Application    Increases   Application    Application    Billing Rate
Library Factual Research     Support Staff        Admin Services                          N/A         1,230.00           4.10         N/A         300.00         300.00        1,230.00
Library Factual Research     Support Staff        Admin Services                          N/A         2,079.00          6.60          N/A        315.00         300.00        1,980.00
Library Factual Research     Support Staff        Admin Services                          N/A         2,277.00          6.90          N/A        330.00         300.00        2,070.00
Library Business Research    Support Staff        Admin Services                          N/A           120.00          0.40          N/A        300.00         300.00          120.00
Library Business Research    Support Staff        Admin Services                          N/A           724.50          2.30          N/A        315.00         300.00          690.00
Library Document Retrieval   Support Staff        Admin Services                          N/A           235.00          1.00          N/A        235.00         235.00          235.00
Library Document Retrieval   Support Staff        Admin Services                          N/A           127.50          0.50          N/A        255.00         235.00          117.50
Lib Legislative Research     Support Staff        Admin Services                          N/A           150.00          0.50          N/A        300.00         300.00          150.00
Ruby A Allen                 Support Staff        Admin Services                          N/A           532.00          2.80          N/A        190.00         190.00          532.00
Olivia Altmayer              Support Staff        Litigation - Antitrust/Competition      N/A         1,430.00          6.50            2        220.00         220.00        1,430.00
                                                                                                        822.50          3.50                     235.00         220.00          770.00
                                                                                                     32,364.50        132.10                     245.00         220.00      29,062.00
Michael Y Chan               Support Staff        Admin Services                          N/A         3,465.00         16.50            1        210.00         210.00        3,465.00
                                                                                                      9,900.00         45.00                     220.00         210.00        9,450.00
Jungje Choi                  Support Staff        Litigation - Antitrust/Competition      N/A         1,092.00          4.20          N/A        260.00         260.00        1,092.00
Linda M Chuk                 Support Staff        Admin Services                          N/A            41.00          0.20            3        205.00         205.00           41.00
                                                                                                        562.50          2.50                     225.00         205.00          512.50
                                                                                                      2,016.00          8.40                     240.00         205.00        1,722.00
                                                                                                        675.00          2.70                     250.00         205.00          553.50
Libby A Cooper               Support Staff        Admin Services                          N/A           440.00          2.00          N/A        220.00         220.00          440.00
Rhonda Dase                  Support Staff        Admin Services                          N/A         2,889.00         10.70          N/A        270.00         270.00        2,889.00
Jenny C DeLeon               Support Staff        Admin Services                          N/A            75.00          0.30            1        250.00         250.00           75.00
                                                                                                      1,007.00          3.80                     265.00         250.00          950.00
Laurie K Dombrowski          Support Staff        Admin Services                          N/A            59.00          0.20            3        295.00         295.00           59.00
                                                                                                        190.00          0.50                     380.00         295.00          147.50
                                                                                                        120.00          0.30                     400.00         295.00           88.50
                                                                                                        126.00          0.30                     420.00         295.00           88.50

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                                                                                                                                Hourly Rate Billed             Billed

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                                                                                                                                                             Application
                                                                                       Fees          Hours                                                     at First
                                                                                       Billed        Billed         Number                    In the First     Interim
      Paraprofessional                                                    Date of      In this        In this       of Rate      In this        Interim      Application
           Name                Position               Department         Admission   Application    Application    Increases   Application    Application    Billing Rate
Eileen Drabek            Support Staff        Admin Services                N/A            770.00           3.50         N/A         220.00         220.00          770.00
Stephanie D Frye         Support Staff        Admin Services                N/A        43,416.00         160.80            1        270.00         270.00      43,416.00
                                                                                       15,457.00          53.30                     290.00         270.00      14,391.00
Stephen P Garoutte       Support Staff        Admin Services                N/A        14,140.00          70.70            4        200.00         200.00      14,140.00
                                                                                       12,984.00          54.10                     240.00         200.00      10,820.00
                                                                                        3,525.00          14.10                     250.00         200.00        2,820.00
                                                                                       11,236.00          42.40                     265.00         200.00        8,480.00
                                                                                        3,080.00          11.00                     280.00         200.00        2,200.00
Allison Graybill         Support Staff        Admin Services                N/A        16,650.00          92.50            5        180.00         180.00      16,650.00
                                                                                       24,457.50         108.70                     225.00         180.00      19,566.00
                                                                                       24,384.00         101.60                     240.00         180.00      18,288.00
                                                                                       16,625.00          66.50                     250.00         180.00      11,970.00
                                                                                       11,872.00          44.80                     265.00         180.00        8,064.00
                                                                                        6,216.00          22.20                     280.00         180.00        3,996.00
Daniel Hill              Support Staff        Admin Services                N/A         3,440.00          17.20            1        200.00         200.00        3,440.00
                                                                                        6,557.50          30.50                     215.00         200.00        6,100.00
Leah Lancaster           Support Staff        Admin Services                N/A        15,180.00          75.90            1        200.00         200.00      15,180.00
                                                                                        9,660.00          46.00                     210.00         200.00        9,200.00
Michael Lim              Support Staff        Admin Services                N/A           147.50           0.50          N/A        295.00         295.00          147.50
Stacey A Otte            Support Staff        Admin Services                N/A           295.00           1.00          N/A        295.00         295.00          295.00
Courtney R Reynolds      Support Staff        Admin Services                N/A           190.00           1.00          N/A        190.00         190.00          190.00
Kenneth Sampson          Support Staff        Admin Services                N/A         3,451.50          17.70            3        195.00         195.00        3,451.50
                                                                                        2,900.00          11.60                     250.00         195.00        2,262.00
                                                                                        3,233.00          12.20                     265.00         195.00        2,379.00
                                                                                        5,460.00          19.50                     280.00         195.00        3,802.50
Elaine S Santucci        Support Staff        Admin Services                N/A        13,435.50          68.90            3        195.00         195.00      13,435.50
                                                                                          580.50           2.70                     215.00         195.00          526.50

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                                                                                                                                         Hourly Rate Billed             Billed

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                                                                                                 Fees         Hours                                                     at First
                                                                                                 Billed       Billed         Number                    In the First     Interim
      Paraprofessional                                                              Date of      In this       In this       of Rate      In this        Interim      Application
           Name                Position                Department                  Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                                  5,850.00          26.00                     225.00         195.00        5,070.00
                                                                                                  3,924.50         16.70                     235.00         195.00        3,256.50
Audrey Schlicht          Support Staff        Admin Services                          N/A           342.00          0.90            1        380.00         380.00          342.00
                                                                                                    160.00          0.40                     400.00         380.00          152.00
Linda A Scussel          Support Staff        Admin Services                          N/A        81,567.50        276.50            2        295.00         295.00      81,567.50
                                                                                                 22,878.00         73.80                     310.00         295.00      21,771.00
                                                                                                 17,556.00         53.20                     330.00         295.00      15,694.00
Catherine B Sullivan     Support Staff        Admin Services                          N/A           114.00          0.30          N/A        380.00         380.00          114.00
Cecilia Tesdahl          Support Staff        Litigation - Antitrust/Competition      N/A         3,569.50         12.10          N/A        295.00         295.00        3,569.50
Mollie Tuomisto          Support Staff        Litigation - Antitrust/Competition      N/A           775.50          3.30            1        235.00         235.00          775.50
                                                                                                  4,710.00         15.70                     300.00         235.00        3,689.50
Kurt J Wunderlich        Support Staff        Litigation - Antitrust/Competition      N/A         2,050.00          4.10            4        500.00         500.00        2,050.00
                                                                                                  7,008.50         13.10                     535.00         500.00        6,550.00
                                                                                                 35,952.00         64.20                     560.00         500.00      32,100.00
                                                                                                  9,272.00         15.20                     610.00         500.00        7,600.00
                                                                                                  5,712.00          8.40                     680.00         500.00        4,200.00
Paige Barnum             Support Staff        Litigation - General                    N/A           235.00          1.00          N/A        235.00         235.00          235.00
Megan Buenviaje          Support Staff        Litigation - General                    N/A           280.00          1.00          N/A        280.00         280.00          280.00
Raul D Catungal          Support Staff        Litigation - General                    N/A         1,102.00          3.80          N/A        290.00         290.00        1,102.00
Mark Cuevas              Support Staff        Litigation - General                    N/A       157,383.00        542.70            2        290.00         290.00     157,383.00
                                                                                                162,719.00        524.90                     310.00         290.00     152,221.00
                                                                                                  8,417.50         25.90                     325.00         290.00        7,511.00
Jigna Dalal              Support Staff        Litigation - General                    N/A        20,182.50         62.10            1        325.00         325.00      20,182.50
                                                                                                  2,822.00          8.30                     340.00         325.00        2,697.50
Song Lin                 Support Staff        Litigation - General                    N/A           325.00          1.00          N/A        325.00         325.00          325.00
Anne R Lubinsky          Support Staff        Litigation - General                    N/A           448.00          1.60            1        280.00         280.00          448.00
                                                                                                     88.50          0.30                     295.00         280.00           84.00

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                                                                                                                                 Hourly Rate Billed             Billed

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                                                                                                                                                              Application
                                                                                        Fees          Hours                                                     at First
                                                                                        Billed        Billed         Number                    In the First     Interim
     Paraprofessional                                                      Date of      In this        In this       of Rate      In this        Interim      Application
          Name                Position                Department          Admission   Application    Application    Increases   Application    Application    Billing Rate
Kate Marino             Support Staff        Litigation - General            N/A            117.50           0.50         N/A         235.00         235.00          117.50
James P McIntyre        Support Staff        Litigation - General            N/A           279.00           0.90          N/A        310.00         310.00          279.00
Muhammad A Rashid       Support Staff        Litigation - General            N/A         3,277.00          11.30          N/A        290.00         290.00        3,277.00
Olivia Weyers           Support Staff        Litigation - General            N/A           132.50           0.50            1        265.00         265.00          132.50
                                                                                           140.00           0.50                     280.00         265.00          132.50
Colleen C Caamano       Support Staff        Litigation - General            N/A        45,414.00         156.60            3        290.00         290.00      45,414.00
                                                                                        68,541.00         221.10                     310.00         290.00      64,119.00
                                                                                        23,400.00          72.00                     325.00         290.00      20,880.00
                                                                                        14,008.00          41.20                     340.00         290.00      11,948.00
Kenneth Gazda           Support Staff        Litigation - General            N/A           162.50           0.50            1        325.00         325.00          162.50
                                                                                            68.00           0.20                     340.00         325.00           65.00
Jason Goodman           Support Staff        Litigation - General            N/A        43,210.00         149.00            4        290.00         290.00      43,210.00
                                                                                         2,697.00           8.70                     310.00         290.00        2,523.00
                                                                                         1,625.00           5.00                     325.00         290.00        1,450.00
                                                                                         1,190.00           3.50                     340.00         290.00        1,015.00
                                                                                           360.00           1.00                     360.00         290.00          290.00
William G Marx          Support Staff        Litigation - General            N/A       108,796.00         368.80            1        295.00         295.00     108,796.00
                                                                                        23,656.50          75.10                     315.00         295.00      22,154.50
Chad M Papenfuss        Support Staff        Litigation - General            N/A       304,912.00       1,033.60            3        295.00         295.00     304,912.00
                                                                                       562,464.00       1,785.60                     315.00         295.00     526,752.00
                                                                                       218,097.00         660.90                     330.00         295.00     194,965.50
                                                                                        25,357.50          73.50                     345.00         295.00      21,682.50
Jonathan Rousseau       Support Staff        Litigation - General            N/A           145.00           0.50          N/A        290.00         290.00          145.00
Antonio Soto            Support Staff        Litigation - General            N/A           180.00           0.50          N/A        360.00         360.00          180.00
Katelyn Ye              Support Staff        Litigation - General            N/A        15,051.00          51.90            3        290.00         290.00      15,051.00
                                                                                           961.00           3.10                     310.00         290.00          899.00
                                                                                           162.50           0.50                     325.00         290.00          145.00

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                                                                                                                                                                  Fees
                                                                                                                                   Hourly Rate Billed             Billed

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                                                                                           Fees         Hours                                                     at First
                                                                                           Billed       Billed         Number                    In the First     Interim
      Paraprofessional                                                        Date of      In this       In this       of Rate      In this        Interim      Application
           Name                Position                   Department         Admission   Application   Application    Increases   Application    Application    Billing Rate
                                                                                            7,106.00          20.90                     340.00         290.00        6,061.00
Roman Bielski            Support Staff        Litigation - General              N/A        46,399.50        147.30          N/A        315.00         315.00      46,399.50
Kenneth W Dyche          Support Staff        Litigation - General              N/A        32,970.00        109.90            2        300.00         300.00      32,970.00
                                                                                            2,047.50          6.50                     315.00         300.00        1,950.00
                                                                                           19,899.00         60.30                     330.00         300.00      18,090.00
Giang Pettinati          Support Staff        Litigation - General              N/A         2,392.50          8.70            2        275.00         275.00        2,392.50
                                                                                            5,133.00         17.40                     295.00         275.00        4,785.00
                                                                                            2,112.50          6.50                     325.00         275.00        1,787.50
Lina Slenys              Support Staff        Litigation - General              N/A         1,050.00          3.50          N/A        300.00         300.00        1,050.00
Joshua L Urban           Support Staff        Litigation - General              N/A           357.50          1.30            4        275.00         275.00          357.50
                                                                                           42,421.00        143.80                     295.00         275.00      39,545.00
                                                                                           11,687.00         37.70                     310.00         275.00      10,367.50
                                                                                           17,160.00         52.80                     325.00         275.00      14,520.00
                                                                                              552.00          1.60                     345.00         275.00          440.00
Marvin R Gibbons, Jr.    Support Staff        Litigation - General              N/A           150.00          0.50          N/A        300.00         300.00          150.00
Matthew Smith            Support Staff        Litigation - General              N/A        52,227.00        165.80          N/A        315.00         315.00      52,227.00
Carmelo A Soto           Support Staff        Litigation - General              N/A         3,270.00         10.90          N/A        300.00         300.00        3,270.00
Will E Thomas            Support Staff        Litigation - General              N/A        16,350.00         54.50            1        300.00         300.00      16,350.00
                                                                                           25,080.00         76.00                     330.00         300.00      22,800.00
Thomas Mangne            Support Staff        Admin Services                    N/A           826.00          2.80            1        295.00         295.00          826.00
                                                                                              726.00          2.20                     330.00         295.00          649.00
Taylor Poland            Support Staff        Admin Services                    N/A           880.00          4.00          N/A        220.00         220.00          880.00
Andrew Brniak            Support Staff        Support Staff                     N/A         2,040.50          7.70          N/A        265.00         265.00        2,040.50
Barbara L Jenifer        Support Staff        Support Staff                     N/A         1,343.00          7.90          N/A        170.00         170.00        1,343.00
Maria Negron             Support Staff        Support Staff                     N/A         1,365.00          7.00          N/A        195.00         195.00        1,365.00
Lorena Salazar           Support Staff        Secretary                         N/A         3,588.00         18.40          N/A        195.00         195.00        3,588.00



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